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                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA
                                    WEST PALM BEACH DIVISION

                                       CASE NO. 16-CV-80170-KAM
                                           Marra/Matthewman

  HARBOURSIDE PLACE, LLC, a
  Florida limited liability company,

          Plaintiff,

  v.

  TOWN OF JUPITER, FLORIDA, a
  Florida municipal corporation,
  JUPITER            COMMUNITY
  REDEVELOPMENT AGENCY, a
  dependent special district of the
  Town of Jupiter, Florida,

          Defendants.
                                             /

      SECOND AMENDED AND SUPPLEMENTAL COMPLAINT FOR RELIEF UNDER 42
         U.S.C. § 1983, FOR DECLARATORY AND INJUNCTIVE RELIEF, AND FOR
                                    DAMAGES1

          Plaintiff, HARBOURSIDE PLACE, LLC (“HARBOURSIDE”), sues Defendants,

  TOWN         OF      JUPITER,       FLORIDA          (“TOWN”)         and      JUPITER           COMMUNITY

  REDEVELOPMENT AGENCY (the “CRA”), and alleges:

                           THE PARTIES, JURISDICTION AND VENUE

          1.        Plaintiff, HARBOURSIDE is a Florida limited liability company.

          2.        The TOWN is a Florida municipal corporation. The TOWN is located in Palm

  Beach County, Florida. The TOWN is governed by a body politic known as the Town Council.

  1
          This pleading comports with the parameters permitted by the Court’s Order [DE 66] dated July 27, 2016
  (docketed July 28, 2016) regarding Plaintiff’s motion [DE 57] for leave to supplement its pleadings.




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         3.      The CRA is a dependent special district of the TOWN authorized by Chapter

  163, Part III, Florida Statutes. The CRA is governed by the CRA Commission, which is a public

  body corporate and politic, and which is comprised of the members of the Town Council.

          4.     This complaint alleges causes of action pursuant to 42 U.S.C. §1983 to enforce

   the First, Fourth, Fifth and Fourteenth Amendments to the U.S. Constitution, and to seek redress

   for the TOWN’s continuing unconstitutional acts which continue to harm HARBOURSIDE; for

   declaratory and injunctive relief, and for damages. This Court has jurisdiction over this cause

   and these parties pursuant to 28 U.S.C. §1331, 28 U.S.C. §1441 and 28 U.S.C. §2201.

         5.      HARBOURSIDE owns and operates “Harbourside Place,” which is located in

  the TOWN, along the Intracoastal Waterway just north of the Indiantown Road bridge. The

  TOWN promotes “Harbourside Place” as its primary entertainment center along the TOWN’s

  Riverwalk:

                “The Harbourside Place development, located north of the Indiantown
                Road bridge, has completed construction and celebrated its Grand
                Opening on December 4 - 6, 2014. Harbourside Place was designed to
                become the main “entertainment” component of the Riverwalk. The 179
                room Wyndham Grand Hotel, offices, retail, amphitheater, restaurants[,]
                public boat docks and public parking are now open.”
                [http://www.jupiter.fl.us/index.aspx?nid=227]

         6.      Harbourside Place [http://harboursideplace.com] comprises approximately 11

  acres, and includes approximately 43,164 square feet of retail space leased to several tenants

  including Tommy Bahama, Chico’s, White House/Black Market, Pink Princess, Francesca’s,

  Venetian Nail Spa and Native Visions Gallery; eight restaurants (for example, The Woods

  Jupiter, Deep Blu Seafood Grille, Bravo! Cucina Italiana, Too Bizarre, Calaveras Cantina and

  Burger Fi) comprising approximately 31,415 square feet; a 179-room Four Star Wyndham Grand

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  hotel and conference center, multi-level parking structures, approximately 62,405 square feet of

  office space and open public spaces including an outdoor amphitheater, a public marina and the

  TOWN’s Riverwalk, creating a family-friendly, upscale environment for residents in or around

  the Town of Jupiter, and business or social visitors as well.

         7.       The TOWN’s Riverwalk is a 2.5-mile pedestrian walkway adjacent to the

  Intracoastal Waterway that provides access to residents and visitors to Harbourside Place as the

  TOWN’s entertainment district.

         8.       Harbourside Place was developed as an EB-5 regional center through which over

  200 foreign investors contributed at least $500,000 each under EB-5 program requirements to

  assist in financing Harbourside Place’s development. The TOWN sent its Finance Director,

  Michael Villela, to China in Fall 2011 and Summer 2012 to market the vision of Harbourside.

         9.       Venue is proper in this Court because: (a) the TOWN is located in Palm Beach

  County, Florida; (b) this complaint alleges causes of action based upon actions and events that

  have occurred, and that continue to occur, in Palm Beach County, Florida; and (c) the property

  and businesses that are the subject of the causes of actions set forth in this complaint are located

  and are being conducted in Palm Beach County, Florida.

         10.      Harbourside Place is located along the Intracoastal Waterway, which separates it

  from the nearest residential neighborhood by approximately 600 feet.

         11.      Harbourside Place is located in the US-1 / Intracoastal Waterway Corridor

  zoning district and is included in the US 1/WCE Waterway Commercial & Entertainment

  subdistrict, according to the TOWN’s 2015 Zoning Map. Harbourside Place includes an outdoor

  amphitheater and stage (the “Amphitheater”) for musical performances, entertainment and other

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  community events. As it was conceived, the development of Harbourside Place contemplated

  regular events and musical performances at the Amphitheater that would drive support for the

  businesses located in Harbourside Place.

          12.    Harbourside Place is across the intracoastal waterway from a residential

   community called Water’s Edge Estates, which is zoned R3 Residential, Limited Multi-Family

   (“R3”). The Code describes the intent of R3 zoning as follows:

         The R-3 limited multifamily residential district is composed of certain higher
         density residential areas plus additional open area where it is likely and desirable
         to extend such type of development. Due to the higher than average
         concentrations of persons or vehicles, these districts are situated where they are
         well served by public and commercial services and have convenient access to
         thoroughfares and collector streets. Site area requirements are graduated to reflect
         the relative need for open space of the various types of buildings based on
         expected parking and population density.

   §27-496(a), Code. Notwithstanding this intent, Water’s Edge Estates was developed as 20 lots

   for single family homes. Fourteen of those 20 lots are located directly on the Intracoastal

   Waterway, and are referred to herein as “Water’s Edge.”                    The distance between the

   Amphitheater and the individual lots in Water’s Edge ranges between 630 ft. and 737 ft.

          13.    The Intracoastal Waterway, which separates Harbourside Place and Water’s

   Edge, is currently unregulated with respect to sound levels, except that vessel operators with

   internal combustion engines must use muffling devices to muffle noise from the exhaust in a

   reasonable manner.     The TOWN has no authority to regulate noise from such activities

   occurring on the Intracoastal Waterway between Harbourside Place and Water’s Edge. See

   §327.65(2), Fla. Stat. Palm Beach County is given such authority by statute, but even the

   County’s authority is limited to enacting an ordinance that makes the maximum sound level 90


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   dB(A) at a distance of 50 feet from the vessel. See id. The County has not adopted such an

   ordinance. As a result, sounds produced from motorized vessels may and frequently do impact

   Water’s Edge at levels far above any sound level limitations in the TOWN’s Code of

   Ordinances.

          14.     Water’s Edge is also close to the Florida East Coast Railways railroad line to the

   West. As a result, sounds produced by trains on that railroad line also frequently exceed any

   sound level limitations in the TOWN’s Code of Ordinances.

          15.     The TOWN approved the development of Harbourside Place as a planned unit

   development or “PUD”.         The Harbourside Planned Unit Development was first approved

   through the adoption of Ordinance 14-08 (“Ord. 14-08”) on December 2, 2008. The TOWN

   later adopted Ordinance 44-10 (“Ord. 44-10”), which amended Ord. 14-08, and Ordinance 1-13

   (“Ord. 1-13”), which amended Ord. 14-08 and 44-10. Collectively, Ord. 14-08, Ord. 44-10 and

   Ord. 1-13 are referred to herein as the “Harbourside PUD,” and are attached hereto as

   Composite Exhibit “1”.

         16.      The TOWN approved the Harbourside Place site plan through the adoption of

  Resolution 25-08 (“Res. 25-08”). The Harbourside Place site plan was subsequently amended

  through the adoption of Resolution 4-10 (“Res. 4-10”), Resolution 2-13 (“Res. 2-13”) and

  Resolution 83-13. Collectively, Res. 25-08, Res. 4-10, Res. 2-13 and Res. 83-13 are referred to

  herein as the “Site Plan,” and are attached hereto as Composite Exhibit “2”.

         17.      The Harbourside PUD and Site Plan, including each amendment thereto, were

  reviewed and approved by the Town Council at publicly noticed meetings. Each time they were

  reviewed and approved, the public had a right to object.

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         18.     Under the Harbourside PUD and Site Plan, HARBOURSIDE was entitled to

  obtain certificates of occupancy for the developed areas on its property, upon demonstrating that

  the Amphitheater could be operated while complying with the TOWN’s sound level regulations.

  The TOWN on October 1, 2014 issued permanent certificates of occupancy for Harbourside

  Place (attached hereto as Composite Exhibit “3”).

         19.     On or about February 9, 2011, the CRA and Jupiter Waterways, LLC entered

  into an Economic Development Agreement (the “CRA Agreement”), a copy of which is attached

  hereto as Exhibit “4”. HARBOURSIDE currently holds all rights and obligations under the

  Agreement that were previously held by Jupiter Waterways, LLC.

         20.     During the Site Plan approval process, the Town Council directed

  HARBOURSIDE to construct the Amphitheater at which live music and other entertainment

  events would be regularly provided to the public for free, as part of the TOWN’s desire to make

  HARBOURSIDE the main entertainment venue of the TOWN’s Riverwalk. These regular

  events and musical performances would be exempt from special permitting requirements under

  Chapter 27, Art. IV (the “Special Permitting Ordinance”) of the TOWN’s Code of Ordinances

  (the “Code”), but subject to Chapter 13, Art. IV (the “Noise Ordinance”) of the Code.

          21.    Consistent with the requirements of the Harbourside PUD and Site Plan,

   HARBOURSIDE in fact designed and constructed Harbourside Place at a cost of close to

   $200,000,000.00; the erection of the Amphitheater, and the purchase and installation of

   extensive sound amplification, attenuation and mitigation equipment and features for its regular

   use, cost Harbourside in excess of $1.5 million, exclusive of Harbourside’s recurring cost of



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   operations including the events regularly presented at the Amphitheater. The Amphitheater is

   situated on an otherwise-developable, income producing portion of Harbourside Place.

          22.     Since its opening to the public, HARBOURSIDE has presented free live music

   and other events at its Amphitheater, including weekend musical and holiday events.

   HARBOURSIDE has expended more than $700,000.00 to present those events to the public for

   free, as required by the Harbourside PUD and Site Plan. In addition, for a substantial period

   before and after opening to the public, and to date, HARBOURSIDE has invested in excess of

   $544,000.00 in sound amplification, attenuation and mitigation equipment and features, as well

   as physical improvements to the Amphitheater, at the direction of the TOWN and its sound

   consultant in an effort to satisfy the TOWN’s appetite to impose more and more conditions and

   prior restraints on HARBOURSIDE’s events at the Amphitheater.                          HARBOURSIDE’s

   expenditure of these funds provides a tangible public benefit at no cost to the TOWN or to its

   residents or visitors attending these events at Harbourside Place.

          23.     Consistent with its opening to the public in 2014, HARBOURSIDE began

   leasing retail space at Harbourside Place to retailers and restaurants, including for instance, The

   Woods Jupiter, Deep Blu Seafood Grille, Bravo! Cucina Italiana, Calaveras Cantina, Burger Fi,

   Tommy Bahama and White House Black Market. These and other tenants reasonably expected

   (as did HARBOURSIDE when investing millions of dollars into Harbourside Place) that

   HARBOURSIDE’s outdoor venue would be regularly used to present public entertainment

   programs which would attract consumers to Harbourside Place generally, and to their

   restaurants and retail stores specifically. Upon information and belief, HARBOURSIDE’s

   tenants contemplated the free musical and other events scheduled for the Amphitheater, and the

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   benefits that their businesses would reap by the customer traffic created by those events, when

   deciding to open their businesses at HARBOURSIDE.

          24.     HARBOURSIDE has complied with the requirements under the Harbourside

   PUD and Site Plan, particularly concerning its right as an “outdoor venue” under the Noise

   Ordinance. Among other things, HARBOURSIDE has presented reports and analyses

   establishing that HARBOURSIDE is able to hold events using exterior amplified sound

   equipment while maintaining compliance with the Noise Ordinance, which reports and analyses

   were accepted by the TOWN’s technical staff.

               HARBOURSIDE PLACE WAS DEVELOPED WITH THE
          UNDERSTANDING THAT THE TOWN’S NOISE ORDINANCE WOULD
           PROVIDE THE SOUND STANDARDS APPLICABLE TO AMPLIFIED
                       SOUND FROM ITS AMPHITHEATER

         25.      HARBOURSIDE developed the Amphitheater with the understanding that the

  regulations that would be applicable to the sound impacts of its operation are those set forth in

  the Noise Ordinance.

         26.      The TOWN’s Noise Ordinance prescribes the standards by which exterior

  sounds created by any property owner should be measured at a receiving property, and the

  calculations required to determine whether the exterior sounds at the receiving property exceed

  the prescribed sound ceilings.

         27.      The Noise Ordinance sets standards for acceptable levels of exterior sounds

  created throughout various zones within the Town. These standards are expressed as allowable

  maximum decibel levels. Section 13-125(a) of the Noise Ordinance provides, in pertinent part:




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          Sec. 13-125. - Exterior sound standards.

          (a)    The following sound standards, as expressed by the equivalent continuous
          sound level (Leq), unless otherwise specifically indicated, shall apply to all
          property with a designated sound zone:

           Table 1:
           Allowable exterior sound levels per sound zone

                          Daytime Sound Level (7:00 a.m. to            Nighttime Sound Level (10:00 p.m.
          Zone
                                    10:00 p.m.)                                   to 7:00 a.m.)
    Residential sound
                                       Leq 55 dB(A)                                 Leq 45 dB(A)
          zone
    Mixed use sound
                                       Leq 60 dB(A)                                 Leq 50 dB(A)
         zone
   Commercial sound
                                       Leq 65 dB(A)                                 Leq 55 dB(A)
       zone
     Industrial sound
                                       Leq 70 dB(A)                                 Leq 60 dB(A)
          zone


          Table 2:
          Allowable exterior sound levels per sound zone for outdoor venues approved with
          extended hours

                      Daytime Sound Level Transitional Nighttime Sound Nighttime Sound Level
        Zone           (7:00 a.m. to 11:00 Level (11:00 p.m. to 12:00    (12:00 a.m. to 7:00
                              p.m.)                   a.m.)                     a.m.)
     Residential
                          Leq 55 dB(A)                    Leq 45 dB(A)                      Leq 45 dB(A)
     sound zone
     Mixed use
                          Leq 60 dB(A)                    Leq 50 dB(A)                      Leq 50 dB(A)
     sound zone
    Commercial
                          Leq 65 dB(A)                    Leq 55 dB(A)                      Leq 50 dB(A)
    sound zone
   Industrial sound
                          Leq 70 dB(A)                    Leq 60 dB(A)                      Leq 55 dB(A)
        zone




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          28.       A violation of these exterior sound standards occurs if a sound emanating from a

   property within the Town, when measured on any other receiving property, persists over a

   specified period of time and at a specified level over and above the sound standards described in

   the Tables set forth in Section 13-125(a). More specifically, Section 13-125(b) of the Town’s

   Code provides:

          (b)     It is unlawful for any person at any location within the incorporated area
          of the Town to create any sound, or to allow the creation of any sound on property
          owned, leased, occupied or otherwise controlled by such person or business,
          which causes the sound level when measured on any other property, to exceed
          either of the following:

                 (1)    The sound standard plus Leq five dB(A) for no more than 7½
                 minutes in any 30-minute time period;

                 (2)    The sound standard plus Leq 10 dB(A) for no more than three
                 minutes in any 30-minute time period;

                 (3)     The sound standard plus Leq 15 dB(A) for no more than one minute
                 in any 30-minute time period; or

                 (4)    A maximum instantaneous sound level equal to the value of the
                 sound standard plus Leq 20 dB(A) for any period of time (measured using
                 A-weighted slow response).

          29.       The TOWN’s Noise Ordinance also requires “ambient sound levels” to be

   considered when evaluating if a violation of the sound ordinance has occurred:

          (c) If the ambient sound level exceeds the standard as noted in Table 1 and 2
          above, of the designated residential sound zones, the ambient sound level shall be
          considered the standard, but at no time shall a sound source exceeds the standard
          noted in section 13-125(b) at the property line.

          30.       If the receiving property borders a sound zone that is different than the sound

   zone in which the receiving property lies, Code Section 13-125(d) provides:

          the sound standard shall be the logarithmic dB(A) average of the standards from the
          respective sound zones. If an acoustically effective intervening wall or barrier exists

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          between the sound source of concern and the sound-sensitive receiver(s), the effects of
          the wall must be determined. Otherwise, the sound measurements may be conducted
          along the vertical plane of the property boundary or anywhere else on the receiving
          property.

                    THE TOWN’S USE OF THE SPECIAL PERMITTING
                  PROCESS AS A MEANS OF EXERTING CONTROL OVER
                   MUSICAL PERFORMANCES AT THE AMPHITHEATER

          31.      Specifically, under the Noise Ordinance, the sound standard applicable at the

   border of two different sound zones is the logarithmic average of the standards for each sound

   zone. Harbourside Place is located in a commercial sound zone, which imposes a 60 dB(A)

   sound level standard, while Water’s Edge is located in a residential sound zone, which imposes a

   55 dB(A) sound level standard. The logarithmic average of those two sound level standards is

   58.2 dB(A), which is what should have been applied to musical performances and events at the

   Amphitheater under the Noise Ordinance.

          32.      The TOWN’s imposition of a more stringent standard through the Special Event

   Permits was another means by which the TOWN attempted to control the content of musical

   performances at Harbourside Place. Music contains peak sounds that cause the dB(A) of a

   musical performance to be higher than the baseline sound levels of the performance. The lower

   the dB(A) sound level standard over a three minute period, the greater the likelihood that certain

   peak sounds will cause the musical performance to exceed the standard. Musical genres like rap,

   hip-hop, heavy metal and rock contain greater contrast between peak sounds and baseline than

   other genres of music.

           33.     Condition No. 22 of the Harbourside PUD required HARBOURSIDE to “submit

    a special event and amphitheater events program detailing the number and types of routine


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    events that will not require an individual special event permit ….” The intent of this condition

    was to allow the TOWN the opportunity to plan for the public safety impacts of the

    programmed events, such as adequate police presence for crowd control during larger events.

           34.     The “Harbourside Events Programming Schedule, dated 09/03/10, revised on

    01/29/13, received and dated by the Department of Planning and Zoning on 01/31/13” was

    incorporated into the Harbourside PUD, and subsequently amended in 2014 (as amended, the

    “Approved Event Program”). The Approved Event Program, which is attached hereto as

    Composite Exhibit “5,” became the schedule of events for calendar year 2015.

           35.     Pursuant to Condition 22 of the Harbourside PUD, HARBOURSIDE was not

    required to go through the special permitting process under the TOWN’s Code for any of the

    regularly-scheduled events at the Amphitheater on the Approved Event Program.

           36.     The Special Permitting Ordinance sets forth the special permitting process

    which, pursuant to the Harbourside PUD and Site Plan, applied only to certain irregular events

    planned at Harbourside Place, such as public events involving road closures and other traffic

    concerns, anticipation of an extraordinarily high number of attendees (such as events celebrating

    St. Patrick’s Day, Christmas Tree lighting, annual Boat Parade, Holiday Choir Sing-off,

    Memorial Day, July 4th and New Years’ Eve) and heightened safety concerns. Usually these

    special permitting situations would require additional police or paramedic staffing because of

    the expected increase in attendees as compared to regular events at Harbourside Place.

          37.      The TOWN was not empowered by the Harbourside PUD or Site Plan to dictate

   or restrain the content of performances occurring at the Amphitheater, including the use of



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   instruments and singing, the types of musical instruments that could be used by artistic

   performers, or the types of music that could be performed.

          38.     In an effort to ensure Noise Ordinance compliance and to cooperatively work

   through issues associated with sound amplification, attenuation and mitigation at the

   Amphitheater, the TOWN and HARBOURSIDE agreed to use the special permitting process set

   forth in the Special Permitting Ordinance temporarily even for regularly-scheduled events on the

   Approved Event Program.

          39.     Throughout 2015, as it became apparent to HARBOURSIDE that the TOWN

   was using the special permitting process to control the content of musical performances at the

   Amphitheater and impose more restrictive sound requirements than were imposed on any other

   property in Jupiter, HARBOURSIDE demanded that the TOWN stop using the special

   permitting process for events on the Approved Event Program. The TOWN refused and took the

   position that the special permitting process was required because the TOWN had not certified the

   Amphitheater as an outdoor venue.

          40.     The TOWN’s special permitting process required HARBOURSIDE to pay

   permitting fees ranging from $100.00 to $400.00 per event. The TOWN also mandated that

   HARBOURSIDE hire the TOWN’s police personnel for event security and traffic control, at

   exorbitant cost to HARBOURSIDE.

          41.     The TOWN has required Special Event Permits for every event held at the

   Amphitheater since opening. The Special Permitting Ordinance required HARBOURSIDE to

   submit a Statement of Use for each performance at the Amphitheater, and §27-293(b) gave “the



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   Town Manager, the Town Manager's designee, the Planning and Zoning Commission or the

   Town Council, as appropriate” authority to condition permit approval.

          42.     With regard to noise, the Special Permitting Ordinance states: “Noise limitations.

   Noise limitations more restrictive than the present code may be imposed for the benefit of

   surrounding uses.” §27-293(b)(2), Code.

          43.     After the TOWN and HARBOURSIDE began using the special permitting

   process, the TOWN began exercising control over the content of musical performances at the

   Amphitheater. On several different occasions when the special permitting process was being

   implemented at the beginning of 2015, the Town Manager, Andrew Lukasik (the “Town

   Manager”), the Director of Planning and Zoning, John Sickler (the “Director”), and the Assistant

   Director of Planning and Zoning, Stephanie Thoburn (the “Assistant Director”), each acting

   under color of law, warned HARBOURSIDE’s Nicholas Mastroianni III (“Mastroianni”) that the

   TOWN did not want musical performances at the Amphitheater to include rap, hip-hop, heavy

   metal and similar kinds of music.

          44.     The Town Manager, Director and Assistant Director intended and Mastroianni

   understood these warnings as meaning that the TOWN would cause problems for

   HARBOURSIDE if the types of music performed at the Amphitheater tended toward types the

   TOWN did not like.

           45.    As a result of the TOWN’s warnings regarding the types of music that it

    preferred, Mastroianni caused most of the Statements of Use submitted by HARBOURSIDE in

    pursuit of Special Event Permits to include a statement that the particular event would not



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    include rap, hip-hop, heavy metal, rock, etc., unless the content of the performance was

    otherwise clear.

          46.      Each of the Special Event Permits issued by the TOWN incorporated

   HARBOURSIDE’s Statement of Use and conditioned issuance of the Special Event Permit on

   consistency of the musical performance with the Statement of Use:

          Except as provided by these conditions, the events shall be consistent with the
          representations made by the applicant as a part of its Application to the
          Department of Planning and Zoning as contained in the Department’s application
          file:
                 a)      Application
                 b)      Statement of Use
                 c)      Site Plan

   As a result, the Special Event Permits facially prohibited musical performances inconsistent with

   the applicable Statement of Use, including a prohibition of performances of rap, hip-hop, heavy

   metal, rock, etc.

          47.      On January 28, 2015, the TOWN issued a Special Event Permit to

   HARBOURSIDE for a “Free Concert” at the Amphitheater to be held on January 29, 2015 (the

   “1-29-2015 Special Event Permit”).

                  (a)         Condition #9 of the 1-29-2015 Special Event Permit stated that “[t]he

   decibel levels from the amplified music at the amphitheater shall not exceed 55Leq dB(A) with a

   three minute interval at the property line of any surrounding residentially zoned property.” This

   sound level limitation imposed through the Special Event Permit was more restrictive than the

   applicable standard under the Noise Ordinance.

                  (b)         Condition #16 of the 1-29-2015 Special Event Permit stated: “Town

   employees must have access on demand to the limiter when any sound is being amplified.”

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                  (c)       Condition #17 of the 1-29-2015 Special Event Permit stated that “[a]

   report from the sound limiter shall be provided after the event upon the request of Town staff and

   a copy shall be provided to Peter Begovich by noon on Monday following the event.”

          48.        The requirements of Condition #16 and #17 of the 1-29-2015 Special Event

   Permit were included in nearly all Special Event Permits issued by the TOWN. These conditions

   required HARBOURSIDE to provide its private business records to the TOWN on demand and

   without probable cause or a warrant.

          49.        On February 11, 2015, the TOWN issued a Notice of Violation (the “2-11-2015

   NOV”) alleging violations by HARBOURSIDE of Conditions #9, #12 & #17 of the 1-29-2015

   Special Event Permit.         The 2-11-2015 NOV gave HARBOURSIDE notice of a hearing

   concerning those alleged violations before the TOWN’s Special Magistrate on March 11, 2015,

   and provided notice to HARBOURSIDE that the TOWN considered these violations irreparable

   and irreversible.

          50.        HARBOURSIDE did not violate the Noise Ordinance during the January 29,

   2015 “Free Concert” at the Amphitheater.

          51.        The TOWN also issued a Special Event Permit to HARBOURSIDE for a “Live

   Music on Sunday” at the Amphitheater to be held on February 15, 2015 (the “2-15-2015 Special

   Event Permit”).

                  (a)       Condition #12 of the 2-15-2015 Special Event Permit stated that “[t]he use

   of bass, drums and percussion instruments shall not be permitted.”

                  (b)       Condition #15 of the 2-15-2015 Special Event Permit again required

   HARBOURSIDE to provide reports from its sound limiter.

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           52.     On February 19, 2015, the TOWN issued a Notice of Violation (the “2-19-15

    NOV”) claiming that HARBOURSIDE failed to comply with Conditions #12 and #15 of the 2-

    15-2015 Special Event Permit.. The TOWN also scheduled the 2-19-15 NOV for a hearing on

    March 11, 2015.

          53.      During the March 11, 2015 hearing, on behalf of the TOWN, the Town Attorney

   opined that the alleged violations were irreparable and irreversible:

          As to the irreversible issue that has been raised, it's clearly a case of irreversible
          violation under Chapter 162. It's like cutting down mangroves. Once you cut the
          mangroves down, they're not there anymore. You can't reverse chopping down
          mangroves.

          Similarly, once the decibel level has been exceeded, you can't reverse that. It's
          been exceeded. Once the steerable line speakers have not been used, once
          Harbourside chose not to use those steerable line speakers, despite knowing of the
          condition of the permit, you can't reverse it now.

          54.      The characterization of the alleged violations as irreparable and irreversible was

   important to the TOWN because such a finding by the Special Magistrate would allow the

   Special Magistrate to impose a fine of up to $15,000 for a single violation, which was far greater

   than $1,000.00 per day for a first violation as provided under the Code. This extreme fine was

   important to the TOWN to impose on HARBOURSIDE the TOWN’s will, which became

   important as the TOWN began exercising greater and greater control over the content of musical

   performances at the Amphitheater.

          55.      During the March 11, 2015 hearing, the TOWN admitted that none of the alleged

   violations of Condition #9 of the 1-29-2015 Special Event Permit would have constituted a

   violation of any provision of the Noise Ordinance.



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          56.      Because the TOWN gave notice to HARBOURSIDE that it considered the

   violations irreparable and irreversible, the Special Magistrate imposed a fine of:

                  (a)     $7,500 for the violations set forth in the 2-11-2015 NOV; and

                  (b)     $7,500 for the violations set forth in the 2-19-2015 NOV.

          57.      Condition #12 of the 2-15-2015 Special Event Permit became a regular condition

   of many of the Special Event Permits issued by the TOWN in 2015. The prohibition of specific

   musical instruments or classes of musical instruments became another means by which the

   TOWN exercised control over the content of HARBOURSIDE’s musical performances.

          58.      Musical instruments are to musical expression as words are to poetry, prose and

   political debate. By eliminating specific musical instruments or classes of musical instruments,

   the TOWN effectively eliminated entire genres and styles of musical expression. For example,

   the TOWN’s prohibition on the playing of drums and other percussion instruments eliminates the

   vast majority of African music styles.

          59.      The TOWN again tightened its control over the content of musical performances

   at the Amphitheater during the summer of 2015 when the TOWN threatened HARBOURSIDE

   with the blanket cancellation of regularly-scheduled musical performances on Sundays. The

   Town Manager advised Mastroianni that going forward the TOWN was going to stop issuing

   Special Event Permits for musical performances on Sundays. At that time, Harbourside’s regular

   Sunday programming consisted of two performances: (1) a 10 a.m. - 2 p.m. acoustic performance

   at the Farmer’s Market; and (2) a 3 p.m. – 7 p.m. afternoon performance which ranged in band

   size, genre, instruments etc.



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          60.      When HARBOURSIDE objected to the elimination of Sunday performances, the

   Town Manager offered that the TOWN would be willing to allow Sunday musical performances

   to continue as long as the afternoon performance was limited to “island/beach type” music and

   not rock and roll.

           61.     As a result of the TOWN’s threat, HARBOURSIDE changed the Sunday

    afternoon performances to “island/beach type” music and not rock and roll.

          62.      Despite HARBOURSIDE’s changes to the music programming, several of the

   TOWN’s elected officials and high-ranking members of staff that visited Harbourside Place

   throughout 2015 expressed to Mastroianni that the music being played was not what

   HARBOURSIDE’s customers wanted to hear. Given the TOWN’s past actions, Mastroianni took

   these admonitions as yet another threat to regulate content.

          63.      On November 8, 2015 and November 15, 2015, during Island Sundayz (the

   Sunday afternoon performance formerly known as Live Music on Sunday) the TOWN received

   complaints from residents at Water’s Edge of drums being played at the Amphitheater. The

   Special Event Permits for these performances stated: “No drums, bass, or percussion instruments

   shall be permitted.”

          64.      On November 20, 2015, the TOWN issued Notices of Violation of Condition

   #13 (“No drums, bass, or percussion instruments shall be permitted”) of the Special Event

   Permits for Island Sundayz on November 8 and 15 (the “11-20-15 NOVs”). Subsequently, on

   December 9, 2015, the TOWN’s Special Magistrate issued two Orders Not to Repeat Violation

   and to Assess Fine and Costs for the 11-20-15 NOVs, each of which imposed a fine of



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   $10,000.00 on HARBOURSIDE merely because drums were used during a musical

   performance.

          65.      Harbourside, reluctantly, has paid all of the fines and costs awarded by the

   Town’s Special Magistrate in order to avoid the imposition of municipal liens on its property.

          66.      In addition to the enforcement of Special Event Permits conditions prohibiting

   specific musical instruments, for the first time on November 15, 2015, and contrary to past

   approvals, the TOWN prohibited HARBOURSIDE from including ‘live music’ altogether during

   its regularly-scheduled “Farmer’s Market” on Sunday, and limited any performances Sunday to

   four hours (inclusive of breaks). The TOWN has imposed this limitation on every Sunday since.

          67.      Notwithstanding HARBOURSIDE’s timely notification of its upcoming musical

   performances at the Amphitheater, the TOWN has consistently issued Special Event Permits for

   such performances only days before each performance is to take place, and has regularly

   restricted the content of the music (or the use of certain musical instruments). The TOWN’s

   issuance of Special Event Permits for routinely programmed events, sometimes as late as two

   hours before the event at Harbourside Place is scheduled to begin, has effectively precluded

   HARBOURSIDE’s meaningful objection and review of the conditions imposed by the TOWN

   for the upcoming events.

          68.      Even though the Harbourside PUD and Site Plan contemplated regularly

   scheduled events at the Amphitheater as set forth in the Approved Event Program, on November

   20, 2015, the TOWN issued a notice (attached hereto as Exhibit “6”) denying approval of

   Harbourside’s regularly-scheduled event Island Sundayz (FKA Live Music on Sunday)

   altogether.

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            69.     Over the course of 2015 and up to the present date, HARBOURSIDE has

   repeatedly expressed to the TOWN that the special permitting process was no longer necessary

   and should be discontinued for regularly-scheduled events given that it was a voluntary process.

   The TOWN has insisted that HARBOURSIDE use the special permitting process because the

   Amphitheater had not been “certified” by the TOWN as an outdoor venue.                          Neither the

   Harbourside PUD nor the Site Plan required the Amphitheater to be “certified” as an outdoor

   venue.

            70.     HARBOURSIDE has fully satisfied each requirement delineated in the

    Harbourside PUD and Site Plan. Specifically:

                   (a)     Condition 7 of Res. 83-13 prohibits HARBOURSIDE from charging a

   parking fee to vehicles parking in the garage at Harbourside Place for the first 2 hours, unless

   modified by the Town Council. HARBOURSIDE has never charged a parking fee to any

   vehicles for the first 2 hours.

                   (b)     Condition 10 of Res. 2-13:

                           (i)       requires HARBOURSIDE to submit applications for Special Event

   Permits to the TOWN 60 days prior to the scheduled event – This condition applies to events not

   referenced on the Approved Event Program, and HARBOURSIDE has complied with this

   requirement;

                           (ii)      requires that events proposing amplified sound outside the

   Amphitheater, hotel decks on Buildings 1 and 2, and event deck on Building 3B obtain a Special

   Event Permit – the TOWN and HARBOURSIDE agreed to a modified procedure applicable to



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   these types of events, which provides that HARBOURSIDE need not apply for Special Event

   Permits if:

                 (1) the number of event participants does not exceed the number permitted by

                     law for those locations; and

                 (2) the event complies with the protocols for amplified music for the particular

                     location that require HARBOURSIDE to self-monitor audio to ensure that

                     levels do not exceed Leq 75 dB(A) at the measuring point on the Harbourside

                     Place.

           71.    Condition 10 of Res. 2-13 also requires HARBOURSIDE coordinate with the

   CRA and TOWN’s Police Department annually regarding the Approved Event Program for the

   upcoming year. This coordination is supposed to occur 60 days prior to the upcoming calendar

   year. The purpose of coordinating with the CRA and Police Department is to address and

   mitigate public safety and traffic concerns for upcoming shows based upon the experiences of

   the previous calendar year. The TOWN’s requirement that HARBOURSIDE use the special

   permitting process throughout all of 2015 required ongoing coordination between the CRA, the

   Police Department and the TOWN, so the intent behind Condition #10 of Res. 2-13 was

   addressed without formal submission to the TOWN of proposed Approved Event Program for

   2016.

           72.    Despite over-regulation by the TOWN, HARBOURSIDE formally submitted its

   proposal for the 2016 Approved Event Program on December 22, 2015. This proposed 2016

   Approved Event Program did not differ from the 2015 event schedule in any material way that

   would require additional considerations by the CRA and Police Department for the coming year.

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             73.    Both the Harbourside PUD and Site Plan require HARBOURSIDE to measure

   the sound levels at different locations throughout Harbourside Place to ensure that

   HARBOURSIDE and its tenants comply with the Noise Ordinance.

             74.    HARBOURSIDE has satisfied this condition to the extent necessary to comply

   with the Noise Ordinance.

             75.    HARBOURSIDE has never been cited by the TOWN for a violation of its Noise

   Ordinance.

             76.    HARBOURSIDE and the TOWN are at odds with respect to this condition

   because the TOWN interprets this condition as prohibiting sound levels that exceed Leq 60 dB(A)

   anywhere in Harbourside Place. The TOWN has never interpreted and enforced the Noise

   Ordinance this way for any other property, and the Noise Ordinance itself is enacted to address

   nuisances as they impact other properties. The TOWN’s interpretation evidences its intent to

   punish HARBOURSIDE in an effort to control music and other event content.

             77.    Even if the TOWN’s interpretation was consistent with the express requirements

   of the Noise Ordinance, this interpretation would render the Noise Ordinance arbitrary and

   capricious because the TOWN’s police power interest in regulating noise is either based on the

   nuisance impact to other properties, or the health and safety impacts of the Leq 60 dB(A) sound

   level, which is equivalent to ordinary conversation and does not impact individual health or

   safety.

             78.    The Harbourside PUD and Site Plan state:

             Prior to issuance of any permits for the covered stage, [HARBOURSIDE] shall
             provide an engineered acoustical analysis to the Department from a sound
             engineer which demonstrates, to the Department’s satisfaction that the noise
             (sound) from the [Amphitheater] and the events deck on top of Building 3B can
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            be mitigated so as to conform to the Town’s laws and regulations. The analysis
            shall include the location of the stage and speakers, direction of sound from
            speakers, and shall measure sound in dB(A). Once approved, the analysis shall be
            incorporated into the final plans, and [HARBOURSIDE’s] continued compliance
            with the same shall be a condition of this Development Order.

   Any assertion by the TOWN that HARBOURSIDE has failed to comply with this condition is

   erroneous for numerous reasons, including:

                   (a)     The TOWN, long ago, issued all building permits and certificates of

   occupancy for the Amphitheater, including the covered stage. With the exception of ongoing

   compliance, this condition has been waived by the TOWN.

                   (b)     HARBOURSIDE and the TOWN have collected sound level data for over

   a year, which indicates that the Amphitheater and the events deck on top of Building 3B not only

   can be mitigated to conform with the TOWN’s laws and regulations, but do conform with the

   TOWN’s laws and regulations.

                   (c)     With respect to the location of the stage and speakers, and direction of

   sound from speakers, the stage has not moved since construction and the location of which has

   been provided in numerous submissions to the TOWN. The TOWN has repeatedly insisted that

   the location and direction of speakers be “tweaked,” but such location and direction has not

   materially changed since installation.

            79.     The Site Plan requires that “[u]pon the submission of the final plans and prior to

   the issuance of any building permits, [HARBOURSIDE] shall revise the Statement of Use to

   note:”

                   (a)     “That the sound limiter shall be set up to limit the overall sound output

   from the sound system such that it meets the TOWN’s sound level regulations at the subject

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   property’s property lines.” HARBOURSIDE installed and has used a sound limiter from the first

   day operating the Amphitheater.

                   (b)     “That the sound limiter shall turn off or automatically reduce the

   sound/music which is being produced to a level which is within the TOWN’s permitted noise

   regulations.” The limiter will reduce the volume of music that is directly fed into it, however it

   will not reduce sound that it cannot control, ambient noise and unamplified sound that is louder

   than the set limit.

                             THE TOWN FORCIBLY SHUTS DOWN
                           THE AMPHITHEATER BY POLICE ACTION

           80.      On January 6, 2016, HARBOURSIDE sent a letter to the TOWN expressing its

   intention to continue to present free entertainment to the public at the Amphitheater during the

   weekend of January 8-10, and into the near future, as reflected on the annual calendar of events

   submitted by HARBOURSIDE on December 22, 2015. HARBOURSIDE asked the TOWN

   whether it intended to disrupt or shut down these scheduled events through police force (which

   the TOWN has done in the past, when a musical act at HARBOURSIDE had used ‘drums’ that

   were prohibited by the Town).

           81.      In response to HARBOURSIDE’s clear request, the TOWN through its attorney

   issued a letter on January 7, 2016 at 4:20 p.m. that raised several legal arguments that are subject

   to adjudication in this action, but conspicuously failed to respond to HARBOURSIDE’s inquiry

   concerning the TOWN’s intention (or not) to forcibly shut down the free public events

   HARBOURSIDE planned for this weekend and into the near future while this action remains

   pending. The TOWN’s response contained this ominous, unspecific threat: “Harbourside may

   expect that the Town will take appropriate enforcement actions.”
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          82.      In an effort to clarify this ominous threat and avoid seeking emergency relief

   from the court, HARBOURSIDE by e-mail (issued within an hour of the Town’s January 8

   letters) reiterated its request for the TOWN’s assurances that the TOWN would not exercise its

   police power to breach the peace during HARBOURSIDE’s regularly-scheduled events this

   weekend and into the near future, or issue notices of violation.

          83.      The TOWN responded to HARBOURSIDE’s expressed intentions by stating that

   “…Harbourside is not authorized to present any events….”

           84.     That evening the TOWN’s police force appeared at Harbourside Place and

    informed HARBOURSIDE that scheduled live musical performances at the Amphitheater.

    When HARBOURSIDE asked by what authority the TOWN was prohibiting performances

    from commencing, Capt. Sam Miller advised that he and the TOWN were enforcing §13-86 of

    the Code. Capt. Sam Miller provided HARBOURSIDE with a document entitled, “Code

    Citation Fine & Fee Schedule,” which is attached hereto as Exhibit “7”, which was highlighted

    to indicate the invocation of §13-86 of the Code that governed the operation of outdoor sound

    amplification devices.

           85.     Section 13-86(a) of the TOWN’s Code states:

          It is unlawful to use, operate or permit to be played, used, or operated any
          outdoor sound amplification machine or device including but not limited to a
          radio receiving set, musical instrument, compact disk, tape, phonograph,
          loudspeaker, sound amplifier or other machine or device for the production or
          reproducing of sound between the hours of 11:00 p.m. and 7:00 a.m., except if
          approved as an outdoor venue with extended hours as provided for in subsection
          (b) below. All sounds emanating from an outdoor amplification machine or device
          in any sound zone or on the public right of way shall be limited in volume and
          tone so as not to exceed the regulations established herein.



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    (emphasis added).        Section 13-86 clearly did not prohibit (and implicitly authorized)

    HARBOURSIDE’s scheduled use of its outdoor sound amplification system between 6:00 p.m.

    and 10:00 p.m.

           86.       The TOWN has never indicated what HARBOURSIDE must do to get the

    Amphitheater certified, because no such requirement exists. In fact, the TOWN introduced

    proposed Ordinance 1-16 on January 5, 2016 (the “Proposed Noise Ordinance Amendment”),

    which would amend the Noise Ordinance to create a “certification” process in hopes of

    changing supporting its legal position in the ongoing dispute with HARBOURSIDE. The

    Proposed Noise Ordinance Amendment even went so far as to “clarify” a grandfathering

    provision so as to exclude the Amphitheater. But as is plainly apparent from the title of Res. 2-

    13, Harbourside Place, including the Amphitheater, was approved as an outdoor venue by the

    Town Council:

          A RESOLUTION OF THE TOWN COUNCIL OF THE TOWN OF JUPITER,
          FLORIDA, APPROVING RESOLUTION NO’S. 25-08 AND 4-10 AND A SITE
          PLAN FOR A PROJECT KNOWN AS HARBOURSIDE TO MODIFY THE
          SQUARE FOOTAGES OF THE PREVIOUSLY APPROVED USES, ADDING
          A COVERED STAGE STRUCTURE, AND APPROVING THE SITE AS AN
          OUTDOOR VENUE; AND PROVIDING FOR AN EFFECTIVE DATE.

   (emphasis supplied).

          87.        Section 13-1 of the Code also defines a nuisance as “any condition or use of

   property or of the exterior of buildings, which is detrimental to the property of others, or which

   causes or tends to cause substantial deterioration in the value of the subject property, or other

   property in the neighborhood or area in which such property or building is located.”




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          88.      The TOWN, in order to further regulate HARBOURSIDE, began to interpret the

   Noise Ordinance as requiring HARBOURSIDE to meet a Leq 60 dB(A) sound level maximum at

   the Harbourside Place is arbitrary and capricious because Leq 60 dB(A) is equivalent to the level

   of normal conversation between two people, which level of sound cannot be a nuisance to

   anyone, and certainly cannot be a nuisance as defined in the Code. Notwithstanding this fact, the

   TOWN took the position that without the special permitting process, HARBOURSIDE would

   have to meet the Leq 60 dB(A) standard on its property. The TOWN’s interpretation is contrary

   to the plain language of the Noise Ordinance, and to any reading of the Code, Harbourside PUD

   or Site Plan.

        THE TOWN’S ATTEMPT TO PUNISH HARBOURSIDE FOR THE TOWN’S
        DECISION TO CREATE AN ENTERTAINMENT DISTRICT ACROSS FROM
                               WATER’S EDGE

          89.      From the beginning, many of the Water’s Edge property owners were opposed to

   the Amphitheater, and began complaining as soon as it became operational. These property

   owners hired a sound consultant, Edward Dugger & Associates (“Dugger”), to lead the charge

   against Harbourside Place.

          90.      In an effort to address impacts on Water’s Edge, HARBOURSIDE continuously

   worked to mitigate sound emanating from the Amphitheater.

          91.      Initially, the TOWN’s sound consultant handling issues related to the sound

   impacts from Harbourside Place was Tom Lepore. As the Water’s Edge property owners

   continued to complain, Lepore was removed from the Harbourside Place assignment and

   replaced with Dugger. Through Dugger, the TOWN became very active in making sound

   mitigation decisions and imposing them on HARBOURSIDE. Upon the advice of Dugger, the
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   TOWN directed HARBOURSIDE to purchase specific sound mitigation and attenuation

   equipment, devices and infrastructure.

            92.    Coincidentally, Dugger also sold much of the equipment, devices and

   infrastructure he required on behalf of the TOWN.

            93.    At one point, the TOWN even directed that HARBOURSIDE construct

   temporary plywood baffles, which it would erect before each performance at the Amphitheater,

   only to be disassembled after the performance. These baffles were entirely inconsistent with the

   development plans for Harbourside Place, which presented a live entertainment venue with a

   view of the Intracoastal Waterway.

            94.    Most of the sound mitigation and attenuation equipment, devices and

   infrastructure required by the TOWN had little impact on the sound levels leaving Harbourside

   Place.     In fact, the greatest mitigation of sound levels came in March 2015 when

   HARBOURSIDE purchased and installed an In-Ear Monitoring System for performing

   musicians on stage to use instead of on-stage amplifiers that faced the musicians (and Water’s

   Edge). The In-Ear Monitoring System was not recommended by Dugger or required by the

   TOWN.

            95.    HARBOURSIDE presented dozens of events during 2015 and was cited only

   once by the TOWN for allegedly violating any sound level limitations. In that sole instance, the

   TOWN admitted the violation was for exceeding the more stringent 55 Leq dB(A) standard over a

   three minute interval imposed through the 1-29-2015 Special Event Permit, and that

   HARBOURSIDE had not violated the sound level limitations prescribed in the Noise Ordinance.

   In other words, HARBOURSIDE did not exceed the sound level limitations applicable to every

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   similar property in the TOWN, and was subjected to uniquely stricter restrictions through the

   special permitting process.

          96.      The sound level data collected at Water’s Edge also shows that ambient sound

   levels, otherwise known as background sound levels, at Water’s Edge often exceed the levels

   prescribed in the Noise Ordinance for a residential zone without any sound being produced by

   Harbourside Place. As a result, the TOWN is imposing sound level maximums through the

   special permitting process that are lower than the sound levels occurring at Water’s Edge

   naturally or as a result of its specific location in relation to other sound producing occurrences

   like the nearby railroad tracks, the opening and closing of the Indiantown Road bridge,

   Indiantown Road traffic noise and activities on the Intracoastal Waterway.

          97.      Ambient sound levels and significant sound producing events at Water’s Edge

   pose yet another problem with respect to the TOWN’s position regarding the Amphitheater’s

   compliance with the Noise Ordinance. Sounds from 2 different sound sources that

   simultaneously reach Water’s Edge at a sound level of Leq 55 dB(A) independently, have a

   cumulative impact of Leq 58.01 dB(A) when measured. Put another way, if the Amphitheater is

   producing sound at a level that would be Leq 55 dB(A) without any other sound source present,

   and the ambient sound level over the same measuring period is Leq 58.7 d(B), then the TOWN’s

   enforcement officer measuring the sound level at Water’s Edge will get a reading of Leq 60.243

   dB(A), assuming the officer’s measuring device is working perfectly. The TOWN has so far

   attributed this cumulative effect to HARBOURSIDE.

          98.      The fact is that amplified sound from the Amphitheater will be heard faintly at

   Water’s Edge, regardless of HARBOURSIDE’s mitigation and attenuation efforts. The

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   complaining property owners have become sensitized to any level of sound from the

   Amphitheater, because they simply do not like the fact that Harbourside Place exists. This

   phenomenon is similar to a mother’s sensitivity to the faintest sound her baby makes.

          99.      Notwithstanding the foregoing, the TOWN insists that the special permitting

   process must be used because HARBOURSIDE has not demonstrated that the Amphitheater can

   be operated in compliance with the Noise Ordinance and therefore, the Amphitheater cannot be

   “certified” as an outdoor venue. The facts show the TOWN’s position to be pretext:

                  (a)     The TOWN and HARBOURSIDE have collected sound level data at

   Harbourside Place and Water’s Edge for the better part of a year, and that data clearly shows that

   Harbourside Place is not producing sound impacts at Water’s Edge in excess of the levels

   prescribed by the Noise Ordinance.

                  (b)     Certification of the Amphitheater as an outdoor venue was not required by

   the Harbourside PUD, Site Plan or Noise Ordinance. The Noise Ordinance discusses outdoor

   venues and provides a process for an outdoor venue to operate under extended hours: “An

   outdoor venue may be approved to operate outdoor sound amplification devices with extended

   hours to 12:00 a.m., if the following requirements are met….” §13-86(b), Code.                 But

   HARBOURSIDE had no desire to have its musical performances continue past 10:00 p.m.

          100.     The TOWN’s arbitrary and capricious, and content-based actions have severely

   limited and unlawfully interfered with HARBOURSIDE’s regular use of its Amphitheater. The

   TOWN’s actions have injured and obstructed, and continue to injure and obstruct,

   HARBOURSIDE’s business operations and that of its tenants who expected that

   HARBOURSIDE would be the main entertainment center along the TOWN’s Riverwalk.

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          101.     HARBOURSIDE has consistently complied with the TOWN’s Noise Ordinance.

   HARBOURSIDE has responded to several demands by the TOWN and its sound consultant

   concerning measures to manage and limit exterior sounds emanating from the Amphitheater, at

   tremendous expense to HARBOURSIDE. Despite HARBOURSIDE’s efforts and investments,

   the TOWN has continued to abuse its powers when dealing with HARBOURSIDE, including

   without limitation:

                  (a)     unilaterally seeking to impose upon HARBOURSIDE content-based

   restraints and other terms and conditions inconsistent with the Harbourside PUD and Site Plan,

   and the United States and Florida Constitutions;

                  (b)     administratively seeking to impose upon HARBOURSIDE new terms and

   conditions inconsistent with HARBOURSIDE’s right as an outdoor venue under the TOWN’s

   Noise Ordinance, the Harbourside PUD and Site Plan;

                  (c)     imposing exterior sound standards more stringent than those prescribed

   under the Noise Ordinance;

                  (d)     interfering with the daily operations at Harbourside Place including the

   details of event programming;

                  (e)     imposing conditions not authorized or even contemplated by the TOWN’s

   Noise Ordinance, including

                          (i)      limitations on the hours on any given day during which

   HARBOURSIDE may host public events at the Amphitheater that are otherwise permitted by the

   Noise Ordinance;



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                          (ii)     the days of any given week during which HARBOURSIDE may

   host public events at the Amphitheater;

                          (iii)    the types of musical instruments that performers may use during

   events hosted by HARBOURSIDE at the Amphitheater; and

                          (iv)     the types of music that may be performed during events hosted by

   HARBOURSIDE at the Amphitheater.

          102.     The TOWN has exempted itself and other property owners from any of the

   arbitrary conditions it has imposed on HARBOURSIDE, when the TOWN has hosted events at

   or immediately adjacent to Harbourside Place.

          103.     Rather than treat the Amphitheater as an ‘outdoor venue’ under its Noise

   Ordinance, the TOWN has continued to bury HARBOURSIDE in a perpetual special event

   permit regime through which the TOWN has imposed upon HARBOURSIDE content-based

   programming conditions, and exterior sound conditions (and other conditions) that are more

   stringent than those required of other property owners similarly situated, and more stringent than

   those applicable to HARBOURSIDE under the TOWN’s Noise Ordinance (whether or not the

   Amphitheater is treated as an “outdoor venue” under the TOWN’s Noise Ordinance).

              THE CRA, ACTING AS THE TOWN’S ALTER EGO, IS ATTEMPTING
               TO INFLICT FURTHER ECONOMIC HARM UPON HARBOURSIDE

          104.     The CRA Commission is comprised of the same membership as the Town

   Council.    The CRA is being used by the Town to inflict additional economic harm upon

   Harbourside through the CRA Agreement.

          105.     The CRA Agreement provides that HARBOURSIDE is entitled to receive a Tax

   Increment Incentive Payment annually for a period of 15 years, which is equal to 50% of the Tax
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   Increment Revenue resulting from the increases in the taxable assessed value of the properties

   comprising Harbourside Place up to $350,000.

          106.    The Tax Increment Incentive Payment(s) were incentives and consideration for

   the development of Harbourside Place, which the CRA admitted in the CRA Agreement “will

   result in a significant financial impact for the community which has been estimated at an

   increase in ad valorem taxes of as much as $15,000,000 over the life of the CRA.”

          107.    The Agreement specifies only two conditions to the CRA’s obligation to make

   Tax Increment Incentive Payment(s) to HARBOURSIDE (“Tax Incentive Payment Conditions”).

   Section 3 of the Agreement expressly conditions Tax Increment Incentive Payment(s) due to

   HARBOURSIDE on (a) the real estate taxes levied on the Property are paid prior to becoming

   delinquent, and (b) the Owner complies at all times with the performance benchmarks referenced

   in section 4 in the CRA Agreement.

          108.    HARBOURSIDE has satisfied the Tax Incentive Payment Conditions.

          109.    In an effort to avoid its obligation to make the Tax Incentive Payment(s) to

   HARBOURSIDE, the CRA Commission on November 17, 2015 voted to notify

   HARBOURSIDE of its alleged breach of the Agreement based on HARBOURSIDE’s alleged

   failure to comply with the TOWN’s unconstitutional Amphitheater use conditions.

          110.    On November 20, 2015, the TOWN and CRA attorney, Thomas J. Baird, sent a

   letter to HARBOURSIDE (the “November 20 Notice”), which is attached hereto as Exhibit “8”,

   notifying HARBOURSIDE of its alleged breach of the CRA Agreement.

          111.    The CRA issued its November 20 Notice simultaneously with the TOWN’s

   issuance of the 11-20-15 NOVs (and notices of hearing) on which the TOWN obtained the award

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   of civil fines by its Special Magistrate Judge (Composite Exhibit “9” attached hereto), and

   simultaneously with the TOWN’s denial of future permits for Sunday afternoon regular

   programming because of the use of drums and bass instruments in contradiction of the TOWN’s

   prior restraints on such expressions.

          112.     The infirmities (constitutional and otherwise) that continue to plague the

   TOWN’s imposition of conditions upon HARBOURSIDE under its unlawful special event

   permitting regime, equally undercut the CRA’s claim that HARBOURSIDE is in breach of the

   CRA Agreement by allegedly violating those same invalid conditions.

          113.     Section 25 of the CRA Agreement is a boilerplate provision that requires

   HARBOURSIDE to “at all times be in compliance with all applicable federal, state and local

   laws, statutes, rules and regulations….” Section 25 is not a condition governing the CRA’s

   obligation to make Tax Increment Incentive Payment(s) to HARBOURSIDE.                           If

   HARBOURSIDE is in violation of any special event permit conditions (assuming their propriety

   in the first instance), the TOWN is afforded remedies under its Code Compliance regulations.

   The TOWN in fact has used those Code Compliance regulations to impose coercive fines upon

   HARBOURSIDE for alleged violations of invalid conditions on the use of the Amphitheater.

          114.     On December 2, 2015, HARBOURSIDE responded to the November 20 Notice

   of Breach by letter to the TOWN and CRA attorney, which is attached hereto as Exhibit “10”.

           115.    The TOWN through its CRA asserts a right to refuse to make tax incentive

    payment(s) to HARBOURSIDE based on HARBOURSIDE’s alleged violations of the same

    conditions and prior restraints that have infected, and continue to infect, the TOWN’s lawful use

    of the Amphitheater.

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           116.     The TOWN’s and CRA’s actions have irreparably harmed HARBOURSIDE by:

                   (a)     Stifling expression protected by the First Amendment;

                   (b)     Creating a system of prior restraints on musical and other performances at

   the Amphitheater;

                   (c)     Requiring HARBOURSIDE to consent to the TOWN’s unlawful searches

   and seizures of its business records as a condition for exercise of its First Amendment rights; and

                   (d)     Causing HARBOURSIDE to suffer a loss of or harm to its goodwill,

   diminution of its competitive position in the marketplace, and loss of opportunities with future

   EB-5 investors, each of which causes monetary damages to HARBOURSIDE which may be

   difficult to quantify fully.

            117.    The loss of First Amendment freedoms, for even minimal periods of time,

    unquestionably constitutes irreparable injury.


                            HARBOURSIDE’S JULY 4TH CELEBRATION
                             SPECIAL EVENT PERMIT APPLICATION

            118.    On April 13, 2016, HARBOURSIDE submitted its application for a Special

    Event Permit for the 2nd Annual Independence Day Celebration scheduled for July 4, 2016 from

    4:00 p.m. to 10:00 p.m. (the “Independence Day SEP Application”).                              Unlike

    HARBOURSIDE’s regularly-scheduled events, its Independence Day SEP Application sought

    TOWN approval for a truly special event that would involve larger crowds and road closures,

    based upon HARBOURSIDE’s July 4th celebration hosted in 2015.

            119.    HARBOURSIDE’s Independence Day SEP Application sought a Class “B”

    Special Event Permit pursuant to §27-271(2) of the Code.

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           120.    The parties’ mediation was declared at an impasse on May 23, 2016.

           121.    Having heard nothing from the TOWN in response to its submission of its

    Independence Day SEP Application, and because it takes a significant amount of time,

    resources and money to plan, coordinate and implement a community event as important as July

    4th, HARBOURSIDE on May 24, 2016 sent a letter to the TOWN reiterating its request for

    approval of its Independence Day SEP Application.

           122.    On June 3, 2016 – 51 days after receiving HARBOURSIDE’s Independence Day

    SEP Application – the TOWN through the Town Attorney sent HARBOURSIDE a letter

    (attached hereto as Exhibit “11”) effectively denying the Independence Day SEP Application.

    The TOWN asserted that HARBOURSIDE as of April 13, 2016 had already exhausted its

    available special event permit allocation for 2016, because HARBOURSIDE had obtained

    special event permits under stipulation over the parties’ mediation process.

           123.    The TOWN reiterated this position during the early portion of the Court’s

    June 15, 2016 status conference. However, the TOWN later revealed in open Court that while

    sitting on HARBOURSIDE’s Independence Day SEP Application for almost two months, the

    TOWN had planned its own July 4th event at Abacoa Town Center, a competitor of Harbourside

    Place. The TOWN then represented to the Court that, as a result of its dedication of police and

    fire/EMS personnel to support Abacoa’s TOWN-sponsored July 4th celebration, the TOWN now

    claimed a lack of additional police and fire/EMS resources to dedicate in support of

    HARBOURSIDE’s July 4th event.

           124.    In 2015, HARBOURSIDE presented a large July 4th celebration event at

    Harbourside Place, with TOWN police and fire/EMS support in place, and at no cost to the

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    public. HARBOURSIDE had applied in April 2016 for police and fire/EMS support to present

    virtually the same events as it had presented the year before.

           125.    This Court rejected the TOWN’s rationale for denying HARBOURSIDE’s

    Independence Day SEP Application by Order dated June 15, 2016.

           126.    Notwithstanding the Court’s rejection of the TOWN’s rationale for denying

    HARBOURSIDE’s Independence Day SEP Application, the TOWN then adopted another

    spurious position [see Town’s letter dated June 17, 2016, attached hereto as Exhibit “12”] that

    HARBOURSIDE’s Independence Day SEP Application only became eligible for review as of

    June 16, 2016 (less than three weeks ahead of July 4th ) even though the TOWN had sat on

    HARBOURSIDE’s Independence Day SEP Application for almost two months before first

    responding to that permit application through its June 3, 2016 attorney letter. The TOWN in its

    June 17, 2016 letter also disingenuously asserted that HARBOURSIDE’s Independence Day

    SEP Application was ‘insufficient’, and that the TOWN’s police department was in the process

    of confirming that it could fill the security detail required by the TOWN for HARBOURSIDE’s

    July 4th celebration event (contrary to its in-Court representations on June 15, 2016 that it

    could not).

           127.    The    TOWN’s        contrived     positions    in   response      to   HARBOURSIDE’s

    Independence Day SEP Application reveal its targeted animus against HARBOURSIDE, its

    tenants and their visitors, and its abuse of governmental power to HARBOURSIDE’s detriment.




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        THE TOWN ADOPTS ORDINANCE NO. 1-16 TO TARGET HARBOURSIDE

           128.     Following the mediation impasse in this action, the TOWN rescheduled its

    proposed Ordinance No. 1-16 (the “Noise Ordinance Amendment”) for second reading by its

    Town Council.

           129.     On June 7, 2016, the Town Council held the second reading of proposed Ord. 1-

    16, and after airing some ore tenus changes, voted unanimously to adopt Ordinance No. 1-16

    (the “Noise Ordinance Amendment”), which is attached hereto as Exhibit “13”. The Town

    Council adopted not only the latest text of proposed Ordinance 1-16 but also ore tenus

    amendments made by councilmember(s) during the June 7, 2016 public hearing that were

    specifically targeted to HARBOURSIDE.

           130.     The Town Council by its amendments to the TOWN’s Noise Ordinance revealed

    its intent to target HARBOURSIDE. The Noise Ordinance Amendment was adopted to control

    the content of musical performances at the Amphitheater, and to require the Amphitheater to

    undergo another outdoor venue approval process.

           131.     The TOWN enacted the Noise Ordinance Amendment in retaliation for

    HARBOURSIDE’s declaration of a mediation impasse, because HARBOURSIDE was in

    compliance with the existing Noise Ordinance, and in order to cloak the TOWN’s continuing

    regulatory misdeeds with new legislative deference. The TOWN expended the effort and time

    to craft and enact the Noise Ordinance Amendment to shut down HARBOURSIDE and prevent

    HARBOURSIDE from operating as the main entertainment component of the Riverwalk as

    designed.



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           132.   Notwithstanding the requirements for approval of the Amphitheater as an

    outdoor venue set forth in the Harbourside PUD and Site Plan, and the TOWN’s approval

    thereof, the Noise Ordinance Amendment requires that the Amphitheater be certified as an

    outdoor venue under an entirely new process. Even though the approval process for an outdoor

    venue is entirely new under the Noise Ordinance Amendment, properties that established a use

    with an outdoor venue prior to November 16, 2010, are grandfathered in and need not go

    through the new approval process. This grandfathering provision allows other outdoor venue

    uses such as Guanabana’s, Square Grouper and Abacoa Amphitheater to avoid Town Council

    approval under the new outdoor venue approval process even though those outdoor venues were

    not similarly required to meet the substantial requirements imposed upon and satisfied by

    HARBOURSIDE under the Harbourside PUD and Site Plan.

          133.    The Noise Ordinance Amendment’s approval process for outdoor venues, which

   obtain certain rights with respect to amplified music, exempts all existing outdoor venues except

   the Amphitheater under the guise of grandfathering those outdoor venues. The grandfathering

   provision applies not as of the date of adoption of the Noise Ordinance Amendment, but as of the

   date of adoption of the last amendment to the Noise Ordinance. HARBOURSIDE had already

   complied with the prior Noise Ordinance, and the Harbourside PUD and Site Plan, and should

   have been grandfathered under the Noise Ordinance Amendment. HARBOURSIDE has been

   singled out by the TOWN even though HARBOURSIDE obtained final certificates of occupancy

   under the Harbourside PUD and Site Plan, and was designated thereunder as an outdoor venue.

   The new approval process for outdoor venues constitutes an unlawful prior restraint, is arbitrary



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   and capricious, a violation of due process and violates HARBOURSIDE’s rights to equal

   protection under the law.

            134.    The Noise Ordinance Amendment purports to require HARBOURSIDE to meet

    several new and different sound standards:

                   (a)     At the source of amplified sound, the sound level cannot exceed Leq 65

   dB(A);

                   (b)     At the “upland property line of a property approved as an outdoor venue,”

   the sound level cannot exceed:

                           (i)      Leq 65 dB(A) measured over a three (3) minute period; and

                           (ii)     75 dB(A) measured instantaneously or over any period of time;

                   (c)     At the Water’s Edge property line, the sound level cannot exceed:

                           (i)      Leq 55 dB(A) measured over a three (3) minute period; and

                           (ii)     65 dB(A) measured instantaneously or over any period of time.

            135.    Based on the text of the Noise Ordinance Amendment, HARBOURSIDE is not

    able to know how it is to comply with these numerous and competing sound standards.

            136.    The Noise Ordinance Amendment also does not define “upland” or “upland

    property line”. When used as an adjective, “upland” is defined by www.dictionary.com as

    meaning “of or relating to uplands or elevated regions.” Given this definition, there is simply

    no way to reconcile the adjective “upland” with the noun “property line”; property lines exist

    without regard to whether property is upland or not. In addition, there is no rational purpose for

    imposing a different standard on sound to uplands or elevated regions.



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           137.    The Town Council’s use of the phrase “upland property line” is clearly targeted

    against HARBOURSIDE and indicative of the TOWN’s continuing intent to discriminate

    against HARBOURSIDE as compared to other venues that hold outdoor entertainment events in

    Jupiter. The Harbourside Place property line extends a substantial distance into the Intracoastal

    Waterway at a point behind the Amphitheater. The Town Council specifically added the

    adjective “upland” to apply to HARBOURSIDE, but that term is not sufficiently defined as

    applied to HARBOURSIDE and does not account for meander lines. If the Noise Ordinance

    Amendment only used “property line” when imposing this new sound level standard, the

    measurement point would have been a point much further away from the Amphitheater.

           138.    The TOWN may not constitutionally control nuisances without reference to their

    effect on receiving properties, but the Noise Ordinance Amendment purports to do so. The

    numerous sound level standards imposed upon Harbourside Place by the Noise Ordinance

    Amendment exceed the TOWN’s lawful authority and violate HARBOURSIDE’s rights to due

    process and equal protection; the TOWN’s efforts to control nuisances using these standards are

    arbitrary and capricious.

           139.    The Noise Ordinance Amendment was enacted under the TOWN’s authority to

    regulate public nuisances. The Noise Ordinance Amendment will be codified in Chapter 13,

    Article IV of the Code. Chapter 13 is entitled “Nuisances”.

           140.    Section 13-81 of the Noise Ordinance (unaffected by the Noise Ordinance

    Amendment) states: “It shall be unlawful for persons to make, continue or cause to be made,

    any excessive, unnecessary or unusually loud noise or any noise which either annoys, disturbs,

    injures or endangers the comfort, repose, health, peace or safety of reasonable persons of normal

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    sensibilities, within the Town limits, as prohibited in this article, unless the noise is exempted

    under this article.”

            141.    The old Noise Ordinance established standards that prevented production of

    noise on a property so as to injure the land or some incorporeal right of neighboring properties.

            142.    The Noise Ordinance Amendment’s limitation of sound levels at the source of

    the sound is arbitrary and capricious because the limitation addresses no injury to the land or

    incorporeal rights of neighboring properties. The Amphitheater and its sound source(s) are at

    least 630 feet away from the residential sound zone at Water’s Edge. If the sound level at

    Water’s Edge is within the standards set forth in the Noise Ordinance, no nuisance exists.

            143.    For properties with outdoor venues that share a property line with adjacent

    properties (i.e., are not separated by another property, public or private right-of-way or

    waterway), the Noise Ordinance Amendment grants those properties the benefit of logarithmic

    dB(A) averaging when the adjacent property is located in a different sound zone.

            144.    The purpose of logarithmic dB(A) averaging is to provide for transition between

    different sound zones that abut each other. In other words, a property located in a commercial

    sound zone abutting a property in a residential sound zone should not have to meet the more

    stringent residential sound zone standard at the property line, because such a rule would:

                   (a)     favor the rights of the residential property owner over the rights of the

   commercial property owner; and

                   (b)     discount the importance of the expectations of each of those property

   owners abutting commercial properties in determining what constitutes injury.



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           145.   The Noise Ordinance Amendment’s exclusion of properties separated by

    intervening properties or waterways from logarithmic dB(A) averaging is not rational, because

    the intervening distance between the sound sourcing property and the receiving property can

    serve to diffuse sound. The Noise Ordinance Amendment implements this exclusion in an

    arbitrary and capricious manner, because it fails to consider the diffusion of sound across an

    intervening property or waterway including the distance of the intervening property or

    waterway. In other words, intervening properties or waterways separating the sound sourcing

    property and the receiving property by 5 feet or 500 feet are treated exactly the same under the

    Noise Ordinance Amendment.

           146.   As applied to the Intracoastal Waterway separating Harbourside Place from the

    Water’s Edge properties, the specific exclusion of HARBOURSIDE from logarithmic dB(A)

    averaging is arbitrary and capricious, because it discounts the reasonable sound-receiving

    expectations of the owners of Water’s Edge properties who experience sounds from the abutting

    Intracoastal Waterway (including its boat traffic and associated sound emissions), operations of

    the Indiantown Road bridge, traffic noise traversing the Indiantown Road bridge and a nearby

    railroad, to name a few sound producers.             The TOWN under the new Noise Ordinance

    Amendment seeks to require HARBOURSIDE to control (and be legally responsible for) all of

    these nearby sound producers, without constitutional basis.

           147.   The Noise Ordinance Amendment reduces the instantaneous sound level

    standard applicable to all properties to 10 dB(A). The TOWN reduced the instantaneous sound

    level standard specifically to legislate its prohibition on HARBOURSIDE’s use of drums and

    other percussion during musical events at the Amphitheater on a permanent (rather than

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    weekend-by-weekend basis) and after being sued by HARBOURSIDE for content-based

    restraints and discrimination.

           148.    The Noise Ordinance Amendment’s reduction in the instantaneous sound level

    standard by 10 dB(A) is not content-neutral, because the Noise Ordinance Amendment cannot

    be justified without reference to specific content sought to be excluded – drums and other

    percussion.   The Noise Ordinance Amendment cannot be justified given the TOWN’s

    previously expressed intent to exclude such content, the absence of any other cause for the

    reduction in tolerable instantaneous sound, and the fact that the Noise Ordinance Amendment

    exempts from its application most other causes of sound that could violate the instantaneous

    sound level standard.

           149.    Furthermore, the Amended Noise Ordinance favors musical expression

    constituting religious services or the practice of religion over other musical expression, by

    exempting musical expression constituting religious services or the practice of religion from

    compliance with §13-125 of the Code. As a result, if a religious group wanted to hold a

    religious service featuring a Christian rock band at the Amphitheater, the Christian rock band’s

    performance would only violate the Noise Ordinance if the sound level exceeded 70 dB(A) at a

    receiving property for a period of 30 or more seconds. This different standard for religious

    services that include Christian rock is facially content-based, particularly given the fact that

    courts will accept such a forum as a valid religious service without inquiry.

           150.    The TOWN under the Noise Ordinance Amendment effectively limits

    HARBOURSIDE’s amphitheater events to presenting an acoustic guitar player and a small

    amplifier at best, unless the focus of the event is religious services. An assembly of members of

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    the community wanting to discuss politics using amplified sound would also violate the Noise

    Ordinance Amendment.

           151.    The Noise Ordinance Amendment also exceeds the TOWN’s authority under

    Chapter 162, Florida Statutes. The Noise Ordinance Amendment states:                          “The failure to

    provide the Town with the sound data report, or the refusal to provide the Town with access to

    the sound limiter shall be an irreparable violation of this section.”        A declaration of irreparable

    violation is important to the Town, because that allows the Town’s code enforcement Special

    Magistrate to assess a fine of $5,000 for a single failure to provide a sound data report to the

    Town. But §162.09, Fla. Stat., makes clear that only the code enforcement board (or special

    magistrate) can make the finding of “irreparable harm” necessary to impose a fine not to exceed

    $5,000 per violation. The Noise Ordinance Amendment makes this change to legislatively

    declare an irreparable violation to specifically address an argument raised by HARBOURSIDE

    before the Special Magistrate that even assuming arguendo that the TOWN can lawfully

    compel HARBOURSIDE to produce its sound data reports, which HARBOURSIDE disputes,

    no single failure to produce a sound data report could constitute irreparable harm under

    §162.09, Fla. Stat.

           152.    The foregoing harm to HARBOURSIDE outweighs any harm the TOWN may

    suffer from injunctive relief addressing the harm to HARBOURSIDE.

           153.    Granting HARBOURSIDE injunctive relief serves the public interest by

    vindicating and protecting HARBOURSIDE’s liberties secured by the United States

    Constitution and the Florida Constitution.



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            154.    HARBOURSIDE specifically reserves all rights and compensation claims

    under Chapter 70, Florida Statutes, against each Defendant. The presentation of claims

    under Chapter 70 is tolled pending a judicial determination of whether the TOWN’s

    regulations against HARBOURSIDE are lawful and valid governmental actions as applied

    to HARBOURSIDE’s properties.

      COUNT I – 42 U.S.C. §1983 – VIOLATIONS OF THE FIRST AND FOURTEENTH
      AMENDMENTS TO THE UNITED STATES CONSTITUTION BY THE TOWN OF
                                       JUPITER

           155.     The allegations set forth in paragraphs 1 through 154 are re-alleged and

   incorporated as if fully set forth herein.

           156.     This is an action pursuant to 42 U.S.C. §1983 seeking redress for continuing

   violations of the First and Fourteenth Amendments to the United States Constitution.

           157.     Music, as a form of expression and communication, is protected under the First

   Amendment. Music is created by the playing of musical instruments. This protection extends to

   amplified music.

           158.     HARBOURSIDE is a private business enterprise that enjoys business

   relationships with many independent retail tenants.             The TOWN has no legitimate role in

   managing the daily operations and business plans of HARBOURSIDE on its privately-owned

   property. The TOWN has no legitimate interest in controlling or prohibiting the content of

   music that may be played at the Amphitheater or directing what musical instruments may or may

   not be used. The TOWN’s police power authorizes it to act to protect the health, welfare and

   safety of the people, but limited by the protections afforded individuals by the United States

   Constitution.

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          159.       The musical performances at the Amphitheater constitute protected expression

   under the First and Fourteenth Amendments, as well as under Article 1, Section 4 of the Florida

   Constitution; the TOWN’s interference with, and prior restraint of, those activities on

   HARBOURSIDE’s private property also raise Fifth Amendment concerns.

          160.       The Town’s Manager, its Town Council and Director of Planning and Zoning,

   under color of law or authority, through the exercise of authority granted under the Special

   Permitting Ordinance and abuse of authority prescribed in the Harbourside PUD and Site Plan,

   have adopted and implemented a de facto policy of the TOWN to take any and all steps

   necessary to restrain and/or prohibit constitutionally-protected musical performances on

   HARBOURSIDE’s private property through the special event permitting process.

          161.       Pursuant to the Harbourside PUD and Site Plan, the TOWN’s Special Permitting

   Ordinance does not apply to the regularly-scheduled musical performances at Harbourside Place,

   but the TOWN under color of law has required use of this process through the following

   threatened actions:

                    (a)     Restraining protected speech and expression through prior restraint;

                    (b)     Repeal or modification of the Approved Event Program;

                    (c)     Shutting down musical performances through police action; and

                    (d)     Refusal to recognize the Amphitheater as an ‘outdoor venue’ under the

   Noise Ordinance, notwithstanding HARBOURSIDE’s compliance with the Harbourside PUD

   and Site Plan.

           162.      The TOWN has imposed, and plans to continue to impose, unlawful prior

    restraints on the musical performances at Harbourside Place, including:

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                   (a)     The requirement to obtain special event permits for regularly scheduled

   events already covered by the Approved Event Program;

                   (b)     The TOWN’s direction that HARBOURSIDE agree not to play rap, hip-

   hop, heavy metal, rock, etc. at the Amphitheater, and inclusion of such agreement into the

   conditions of special permits by reference;

                   (c)     The TOWN’s prohibition or limitation of the playing of specific musical

   instruments in Special Event Permits;

                   (d)     The TOWN’s action to deny HARBOURSIDE ‘permission’ for future

   “live music” on Sundays, and/or the use of drums and bass guitars, based on HARBOURSIDE’s

   failure to abide by the TOWN’s prior restraints on such expressions; and

                   (e)     The TOWN’s imminent repeal of the Approved Event Program to impose

   conditions on all future performances.

           163.     Prior restraints      on speech bear a heavy presumption against               their

   constitutionality.    The settled rule is that a system of prior restraint avoids constitutional

   infirmity only if it takes place under procedural safeguards designed to obviate the dangers of a

   censorship system. No such procedural safeguards exist in the TOWN’s Code of Ordinances.

           164.     The TOWN’s prohibitions on the types of musical instruments that may be

   played at the Amphitheater constitute content-based restrictions on protected expression, because

   they bar the genres or forms of musical expression predicated on the prohibited musical

   instruments.

           165.     The TOWN’s direction regarding the types of music that may be performed at

   the Amphitheater constitutes content-based restrictions on protected expression.

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          166.     By adopting the Noise Ordinance Amendment, the TOWN has attempted to

   dictate the content of musical expression performed at the Amphitheater through less obvious,

   but no less unlawful means. These means, which cannot be justified without reference to the

   content of musical expression the TOWN has demonstrated it wants to restrict or limit, include:

                  (a)     Numerous sound level standards and measurement criteria that are

   applicable to the Amphitheater only;

                  (b)     An instantaneous sound level standard that cannot be met without altering

   the content of musical expression;

                  (c)     A sound level standard at the sound source that cannot be met without

   altering the content of musical expression.

          167.     The TOWN’s change of strategy and legal position was revealed during the

   June 15, 2016 status conference before the Court. Prior to then, the TOWN had asserted that

   HARBOURSIDE was legally prohibited from presenting any events at its amphitheater without a

   special event permit, based on the flawed premise that HARBOURSIDE could not comply with

   the TOWN’s sound regulations otherwise. On January 8 and 9, 2016, just days after

   HARBOURSIDE commenced this action, the TOWN through its police force affirmatively

   prohibited and shut down HARBOURSIDE’s amphitheater events (and even its canned music

   piped through its amphitheater speakers when events are not occurring) on the ground that

   HARBOURSIDE did not obtain a special event permit to do so.

          168.     However, upon its recent enactment of the Noise Ordinance Amendment (and

   believing that HARBOURSIDE cannot comply with its new provisions), the TOWN has now

   adopted HARBOURSIDE’s position that HARBOURSIDE has satisfied all conditions and may

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   present its regularly-programmed events at its amphitheater without a special event permit. By

   acknowledging that HARBOURSIDE does not need special event permits to continue to present

   its regular event programming (as it has done without TOWN interference since May 2016), the

   TOWN concedes that the legal premise on which it earlier required HARBOURSIDE to obtain

   special event permits for every event at HARBOURSIDE’s amphitheater was fallacious, and that

   its imposition of various permitting conditions was arbitrary, capricious and revealed selective

   and unequal treatment under the TOWN’s laws.

          169.     The Noise Ordinance Amendment’s use of the phrase “upland property line” is

   both unconstitutionally vague and specifically directed at HARBOURSIDE.

          170.    Government restrictions on speech based upon the content of the message are

   presumptively unconstitutional and are subject to a higher level of scrutiny as a result. Because

   the TOWN's special event permits impose content-based restrictions on their face, those

   provisions can stand only if they survive strict scrutiny, which requires the TOWN to show that

   the restriction furthers a compelling interest and is narrowly tailored to achieve that interest.

          171.     A compelling interest is “an interest of the highest order.” Mere speculation of

   harm does not constitute a compelling interest. The Town already conceded it did not have an

   interest of the highest order when it issued the special event permits as Class “A” special

   permits, because such permits are issued for temporary uses that are “anticipated to have

   minimal impacts on surrounding uses.” §27-271(1), Town Code.

          172.     The TOWN’s legitimate interest regarding events at the Amphitheater is

   preventing excessive noise, which is not a compelling interest.



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          173.     The TOWN’s conduct has deprived, and continues to deprive, HARBOURSIDE

   of rights, privileges or immunities secured by the Constitution or laws of the United States.

          WHEREFORE, HARBOURSIDE PLACE, LLC respectfully requests that this Court

   enter a judgment providing that:

          (a)     declaring that the musical performances and other events at the Amphitheater

                  constitute expression protected by the First Amendment;

          (b)     declaring that the following constitute unlawful prior restraints on expression

                  protected by the First Amendment:

                  (i)     The TOWN’s actions under the Special Permitting Ordinance to deny or

                  condition Special Event Permits for musical performances at the Amphitheater;

                  (ii)    The requirement to obtain Special Event Permits for regularly scheduled

                  events already covered by the Approved Event Program;

                  (iii)   The TOWN’s direction that HARBOURSIDE agree not to play rap, hip-

                  hop, heavy metal, rock, etc. at the Amphitheater, together with:

                          (1)      the TOWN’s implied threat to use the special event permitting

                          process continuously to impose conditions upon HARBOURSIDE’s use of

                          the Amphitheater inconsistent with the HARBOURSIDE’s rights and

                          expectations under the Harbourside PUD and Site Plan, and federal law;

                          and

                          (2)      the TOWN’s use of its code enforcement process to impose

                          substantial financial penalties for violations of unlawful Special Event

                          Permit conditions;

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               (iv)    The TOWN’s prohibition or limitation of the playing of specific musical

               instruments in Special Event Permits; and

               (v)     The TOWN’s ability to repeal the Approved Event Program as a means to

               impose conditions on all future performances;

         (c)   declaring that the foregoing unlawful prior restraints constitute violations of

               HARBOURSIDE’s rights under the First Amendment;

         (d)   declaring that the TOWN’s prohibition on the types of musical instruments that

               may be played at the Amphitheater constitute content-based restrictions on

               protected expression;

         (e)   declaring that the TOWN’s directions regarding the types of music that may be

               performed at the Amphitheater constitute content-based restrictions on protected

               expression;

         (f)   declaring that the TOWN’s threat to cancel Sunday musical performances

               altogether unless HARBOURSIDE plays a specific type of music constitutes a

               content –based restriction on protected expression;

         (g)   declaring that the Noise Ordinance Amendment is not a facially content-neutral

               regulation of musical expression protected by the First Amendment;

         (h)   declaring that the Noise Ordinance Amendment cannot be justified without

               respect to the content of the musical expression the TOWN has demonstrated it

               wants to restrict or limit at HARBOURSIDE;

         (i)   declaring that the Noise Ordinance Amendment is not narrowly tailored to serve a

               compelling government interest;

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         (j)   declaring the Noise Ordinance Amendment’s use of the term “upland property

               line” an unlawful prior restraint on musical expression protected by the First

               Amendment in that it is vague, is specifically targeted against HARBOURSIDE

               and operates to inhibit HARBOURSIDE’s exercise of freedoms afforded by the

               First Amendment;

         (k)   declaring that the exemption from the application of sound level standards of §13-

               125 of the Code for religious services and practice of religion under the Noise

               Ordinance Amendment violates the Establishment Clause of the First

               Amendment;

         (l)   declaring the Noise Ordinance Amendment in unconstitutional, and striking:

               (i)     the portions of the Noise Ordinance Amendment that can be severed; or

               (ii)    the Noise Ordinance Amendment in its entirety because the portions that

               must be struck as unconstitutional render the remaining ordinance arbitrary,

               capricious, ambiguous and vague;

         (m)   granting injunctive relief;

         (n)   awarding damages;

         (o)   awarding attorneys’ fees and costs pursuant to 42 U.S.C. §1988(b), and

         (p)   awarding such other and further supplemental relief to HARBOURSIDE as may

               be just and proper.




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                  COUNT II – 42 U.S.C. §1983 – VIOLATIONS OF THE FIFTH AND
                    FOURTEENTH AMENDMENTS TO THE UNITED STATES
                         CONSTITUTION BY THE TOWN OF JUPITER

           174.      The allegations set forth in paragraphs 1 through 154 are re-alleged and

   incorporated as if fully set forth herein.

           175.      This is an action pursuant to 42 U.S.C. §1983 seeking redress for continuing

   violations of the Fifth and Fourteenth Amendments to the United States Constitution.

           176.      As applied to HARBOURSIDE, the Noise Ordinance and Special Permitting

   Ordinance deny HARBOURSIDE procedural due process.

           177.      Pursuant to Section 13-119 of the Code, events receiving Special Event Permits

   are exempt from the noise level regulations set forth in the Noise Ordinance, and are also exempt

   from the substantive and procedural protections afforded by the Noise Ordinance.

           178.      Specifically, Section 13-125(c) of the Code requires the TOWN to account for

   ambient sound levels in enforcing violations of the Noise Ordinance: “If the ambient sound level

   exceeds the standard, as noted in Table 1 and 2 above, of the designated residential sound zones,

   the ambient sound level shall be considered the standard, but at no time shall a sound source

   exceeds the standard noted in section 13-125(b) at the property line.”

           179.      Because Special Event Permits are exempt from the requirements of the Noise

   Ordinance, the TOWN can regulate amplified sounds in a Special Event Permit without

   accounting for the impact of ambient noise at the location at which a violation is alleged.

           180.      Section 13-125(c) does not adequately address ambient sound by failing to

   account for the cumulative impact of multiple sound sources. As a result, HARBOURSIDE can

   amplify sound such that it causes sound levels to reach Water’s Edge at Leq 55 dB(A) over a 3

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   minute period. Such conduct on the part of HARBOURSIDE would not create a nuisance and

   would lawful under the Noise Ordinance. But other sound sources occurring simultaneously at

   Water’s Edge, including but not limited to ambient sound, necessarily elevate sound levels at

   Water’s Edge higher than Leq 55 dB(A), thereby triggering a perceived violation of the Noise

   Ordinance that is attributed to HARBOURSIDE.

          181.     The effect of the Noise Ordinance’s failure to account for the cumulative impacts

   of multiple sound sources is that the Noise Ordinance arbitrarily and capriciously makes the

   same conduct by HARBOURSIDE lawful (not a nuisance) on one occasion and unlawful (a

   nuisance) on another occasion.

          182.     The impact of the failure of the Noise Ordinance to account for the cumulative

   impacts of multiple sound sources is even more arbitrary and capricious when one considers that

   the TOWN is regulating excessive sound under its power to address public nuisances. An

   ordinance with such an effect must, in other words, do no more than duplicate the result that

   could have been achieved in the courts—by adjacent landowners (or other uniquely affected

   persons) under the State's law of private nuisance, or by the TOWN under its complementary

   power to abate nuisances that affect the public generally, or otherwise.

          183.     Determination of what constitutes a nuisance requires consideration of the

   individual facts and circumstances of the affected property, and the increased level of ambient

   and transitory sound at Water’s Edge, which has been demonstrated by over a year’s worth of

   sound data collected by the TOWN and HARBOURSIDE, necessarily makes the level of sound

   that constitutes a nuisance at Water’s Edge higher than in other residential areas of the TOWN.

   The failure of the Noise Ordinance to account for the cumulative impacts of multiple sound

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   sources, as applied to HARBOURSIDE, has the opposite effect of imposing a de facto standard

   to Water’s Edge of Leq 52-53 dB(A).

          184.     Section 13-125(d) of the Code evidences the TOWN’s recognition that a higher

   sound standard should apply to Water’s Edge.              Section 13-125(d) provides that the sound

   standard to be applied at the boundary of two sound zones is the logarithmic dB(A) average of

   the standards from the respective sound zones. Water’s Edge is on the boundary of a residential

   sound zone, and Harbourside Place is in a MU Zone with a higher sound level standard that

   should have implicated §13-125(d).

           185.    Section 327.65(2), Fla. Stat., effectively renders the Intracoastal Waterway a

    sound zone which imposes a sound standard no lower than Leq 90 dB(A). Water’s Edge is on

    the boundary of the de facto Intracoastal Waterway sound zone. As a result, the applicable

    standard at Water’s Edge should be the logarithmic average of Leq 55 dB(A) and Leq 90 dB(A).

          WHEREFORE, HARBOURSIDE PLACE, LLC respectfully requests that this Court

    enter a judgment:

                  (a)     Finding that:

                          (i)      The TOWN’s failure to include the substance of §13-125(c) in

                          Special Event Permits renders the Special Event Permits arbitrary and

                          capricious and in violation of substantive due process;

                          (ii)     The TOWN’s failure to include provisions addressing the

                          cumulative impacts of multiple sound sources in Special Event Permits

                          renders the Special Event Permits arbitrary and capricious and in violation

                          of substantive due process;

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                          (iii)    The sound standards applied by the TOWN to HARBOURSIDE

                          exceed the TOWN’s authority to regulate no more than an actual nuisance;

                          and

                          (iv)     The Noise Ordinance’s failure to address the cumulative impacts

                          of multiple sound sources renders it arbitrary and capricious, both facially

                          and as applied to HARBOURSIDE;

                          (v)      The Noise Ordinance Amendment is arbitrary and capricious

   because:

                                   (1)      It imposes numerous sound level standards on musical

   expression that bear no relationship to the TOWN’s expressed goal of preventing unwanted

   sound on other properties;

                                   (2)      It declares certain conduct a nuisance that is not a nuisance

   in fact;

                                   (3)      It provides exemptions, conditions or modifications of

   general sound level standards which bear no relationship to the TOWN’s expressed goal of

   preventing excessive sound on other properties, including but not limited to the exclusion of

   properties separated by another property, public or private right-of-way or waterways from

   logarithmic dB(A) averaging under §13-125(d), the exemption of excessive sounds that enjoy no

   protection under the First Amendment, and the imposition of a completely different sound level

   standard for religious services or the practice of religion which would include religious musical

   expression;



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                                     (4)      It exempts from the outdoor venue approval process

   existing outdoor venues but not as of the date of the Noise Ordinance Amendment;

                                     (5)      It declares the failure to provide the TOWN at any time

   upon request with the sound data report, or the refusal to provide the TOWN with access to the

   sound limiter, an irreparable violation;

                            (vi)     The Noise Ordinance Amendment’s use of the term “upland

   property line” is unconstitutionally vague, and targeted against HARBOURSIDE, and therefore

   void;

                    (b)     granting injunctive relief;

                    (c)     awarding damages;

                    (d)     awarding attorneys’ fees and costs pursuant to 42 U.S.C. §1988(b), and

                    (e)     awarding such other and further supplemental relief to HARBOURSIDE

                    PLACE, LLC as may be just and proper.

                  COUNT III – 42 U.S.C. §1983 – VIOLATIONS OF THE FOURTH
                  AND FOURTEENTH AMENDMENTS TO THE UNITED STATES
                        CONSTITUTION BY THE TOWN OF JUPITER

            186.     The allegations set forth in paragraphs 1 through 154 are re-alleged and

    incorporated as if fully set forth herein.

           187.      This is an action pursuant to 42 U.S.C. §1983 seeking redress for continuing

   violations of the Fourth and Fourteenth Amendments to the United States Constitution.

           188.      The Fourth Amendment states:

           The right of the people to be secure in their persons, houses, papers, and effects,
           against unreasonable searches and seizures, shall not be violated, and no Warrants
           shall issue, but upon probable cause, supported by Oath or affirmation, and

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          particularly describing the place to be searched, and the persons or things to be
          seized.

   U.S. Const. amend. IV.

          189.     HARBOURSIDE owns a sound limiter and iPad sound level meter that it uses in

   connection with the musical performances and other events it programs for the Amphitheater.

          190.     The reports produced by HARBOURSIDE’s sound limiter and iPad sound level

   meter constitute HARBOURSIDE’s private papers and effects under the Fourth Amendment,

   and HARBOURSIDE has an expectation of privacy in them.

          191.     Through the Harbourside PUD and Site Plan, the Town Council, acting under

   color of law, has required HARBOURSIDE to produce its private sound limiter and iPad sound

   level meter without probable cause or a warrant, on a continuing basis and under penalty of fines

   and other coercive measures.

   Through the Harbourside PUD, the Site Plan and conditions of individual Special Event Permits,

   the TOWN has consistently required that HARBOURSIDE produce its private sound limiter and

   iPad sound level meter without probable cause or a warrant.

          192.     The TOWN’s conduct has deprived, and continues to deprive, HARBOURSIDE

   of rights, privileges or immunities secured by the Constitution or laws of the United States.

          WHEREFORE, HARBOURSIDE PLACE, LLC respectfully requests that this Court

    enter a judgment:

                  (a)     finding that conditions of the Harbourside PUD, Site Plan and Special

                  Event Permits requiring HARBOURSIDE to produce sound limiter reports, iPad

                  sound level meter reports, or any other business record of HARBOURSIDE


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                   without probable cause and a warrant and under penalty of fines and other

                   coercive measures, violate the Fourth Amendment to the United States

                   Constitution;

                   (b)     finding that the Amended Noise Ordinance’s requirements that

                   HARBOURSIDE produce sound limiter reports, iPad sound level meter reports,

                   or any other business record of HARBOURSIDE without probable cause and a

                   warrant and under penalty of fines and other coercive measures, violate the Fourth

                   Amendment to the United States Constitution;

                   (c)     awarding damages;

                   (d)     awarding attorneys’ fees and costs pursuant to 42 U.S.C. §1988(b), and

                   (e)     awarding such other and further supplemental relief to HARBOURSIDE

                   PLACE, LLC as may be just and proper.

                  COUNT IV – DECLARATORY AND SUPPLEMENTAL RELIEF
                             AGAINST THE TOWN OF JUPITER

           193.     The allegations set forth in paragraphs 1 through 154 are re-alleged and

   incorporated as if fully set forth herein.

           194.     This is an action for declaratory judgment pursuant to Section 28 U.S.C. §2201,

   et seq., otherwise known as the Federal Declaratory Judgment Act. This action is brought

   against the TOWN and the CRA.

           195.     A bona fide controversy exists between the parties with regard to their respective

   rights and obligations of HARBOURSIDE and the TOWN under the Harbourside PUD, Site

   Plan and Noise Ordinance, the United States and Florida Constitutions, and the CRA Agreement.


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          196.    HARBOURSIDE has asserted that:

                 (a)     It has complied with those conditions delineated in the Harbourside PUD

   and Site Plan concerning the use of the Amphitheater as an “outdoor venue”, and is an “outdoor

   venue” under the TOWN’s Noise Ordinance;

                 (b)     As an approved “outdoor venue” under the TOWN’s Noise Ordinance,

   HARBOURSIDE is entitled to host events producing exterior sounds, subject to the hours of

   operation specified in Table 2 under Section 13-125(a) of the Noise Ordinance;

                 (c)     while HARBOURSIDE should be recognized as an “outdoor venue”

   under the TOWN’s Noise Ordinance, HARBOURSIDE is entitled, at a minimum, to host events

   producing exterior sounds, subject to the hours of operation specified in Table 1 under Section

   13-125(a) of the Noise Ordinance;

                 (d)     In any event, HARBOURSIDE is not obligated to seek or obtain special

   event permits for each and every regularly-scheduled public event HARBOURSIDE wishes to

   host at the Amphitheater but is required to obtain a special event permit only regarding those

   unique events for which HARBOURSIDE and the TOWN reasonably anticipate the need for

   road closures and other traffic concerns, an extraordinarily high number of attendees (such as

   Holiday events or New Years’ Eve celebrations) and heightened safety concerns;

                 (e)     The TOWN’s Noise Ordinance prescribes certain standards by which

   exterior sounds created by any property owner should be measured at a receiving property, and

   the calculations required to determine whether the exterior sounds at the receiving property

   exceed the prescribed sound ceilings;



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                 (f)     That the only measuring point prescribed by the Noise Ordinance for

   enforcement against Harbourside Place is at the property line of another property impacted by

   sound being produced at Harbourside Place by HARBOURSIDE or its employees and agents

   and from no other sources;

                 (g)     Enforcement of violations of the Noise Ordinance or any Special Event

   Permit conditions related to amplified sound against HARBOURSIDE require that the TOWN

   present evidence to the Special Magistrate showing that the alleged violations arise from sounds

   being produced at Harbourside Place by HARBOURSIDE or its employees and agents;

                 (h)     Enforcement of violations of the Noise Ordinance or any Special Event

   Permit conditions related to amplified sound against HARBOURSIDE without considering the

   impacts of ambient sound violates HARBOURSIDE’s rights to due process;

                 (i)     Notices of Violation of the Noise Ordinance or conditions of Special

   Event Permits issued by the Town that do not notify HARBOURSIDE how it violated the Noise

   Ordinance or conditions of Special Event Permits are facially invalid under Florida law, and

   violate HARBOURSIDE’s rights to due process;

                 (j)     Submission of the annual calendar of events (Approved Event Program)

   for review by the CRA and Police Department, as required by the Harbourside PUD and Site

   Plan, was for the limited purpose of addressing public safety and traffic impacts, and not to

   impose sound impacts;

                 (k)     As of the date of this Second Amended Complaint, the annual calendar of

   events (Approved Event Program) formally submitted by HARBOURSIDE on December 22,



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   2015, is in effect and governs which events may be presented at the Amphitheater without a

   Special Event Permit;

                  (l)      HARBOURSIDE had coordinated with the CRA and Police Department

   on the relevant aspects of the annual calendar of events (Approved Event Program) formally

   submitted on December 22, 2015, throughout all of 2015 in conjunction with the special

   permitting process;

                  (m)      Any provision of the Harbourside PUD or Site Plan that the Approved

   Event Program “…may be repealed in part or total by the Town, if the Town determines the

   exempt events are creating significant impacts that warrant revisions to the criteria and

   requirements….” is unlawful;

                  (n)      Even if HARBOURSIDE had violated terms and conditions of any Special

   Event Permits, which HARBOURSIDE disputes, such violations would not constitute a failure

   on the part of HARBOURSIDE to “at all times be in compliance with all applicable federal, state

   and local laws, statutes, rules and regulations;”

                  (o)      HARBOURSIDE has not breached any provision of the CRA Agreement;

                  (p)      Section 25 is not a material term of the CRA Agreement, and therefore,

   the CRA may not withhold Tax Increment Incentive Payment(s) due to HARBOURSIDE under

   the CRA Agreement;

                  (q)      While the TOWN may fairly enforce its Noise Ordinance according to its

   terms, the TOWN does not possess the lawful authority to dictate:

                           (i)     the hours during which HARBOURSIDE hosts public events that

   are more restrictive than the hours expressly permitted by the Noise Ordinance;

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                         (ii)     the days of the week on which HARBOURSIDE hosts public

   events, or

                         (iii)    the types of musical instruments, or genre of music or other

   entertainment, which HARBOURSIDE elects to offer when it hosts public events.

          197.    The TOWN has refused to recognize HARBOURSIDE as an “outdoor venue”

   under its Noise Ordinance despite acknowledging that HARBOURSIDE has complied with all

   those conditions delineated in the Harbourside PUD and Site Plan concerning the use of the

   Amphitheater as an “outdoor venue” (including acceptance of the exterior sound analysis

   provided by HARBOURSIDE’s sound consultant); continues to demand that HARBOURSIDE

   seek and obtain special event permits for each and every public event HARBOURSIDE wishes

   to host at the Amphitheater; continues to impose terms and conditions upon HARBOURSIDE’s

   use of the Amphitheater that exceed the conditions provided by the TOWN’s Noise Ordinance;

   continues to impose terms and conditions upon HARBOURSIDE’s use of the Amphitheater that

   have no genuine lawful basis under its Code such as dictating the hours, days and specific

   musical instruments or genre of music that HARBOURSIDE may wish to offer to the public at

   the Amphitheater, and refuses to recognize and honor HARBOURSIDE’s vested rights under the

   Harbourside PUD and Site Plan.

          198.    While the TOWN has consistently monitored exterior sounds created by

   HARBOURSIDE by measuring sound levels at a receiving property (in this case, the Water’s

   Edge residential zone across the Intracoastal Waterway (and to the west) from Harbourside

   Place), the TOWN has asserted a continuing right to use the Special Event Permits process to



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   regularly impose upon HARBOURSIDE exterior sound standards measured at the receiving

   property that are more stringent than those prescribed by the TOWN’s Noise Ordinance.

           199.    The TOWN has not declared HARBOURSIDE in violation of the TOWN’s

   Noise Ordinance; HARBOURSIDE has remained in compliance with the TOWN’s Noise

   Ordinance. Instead, the TOWN has regulated content of expression protected by the First

   Amendment through its special event permit scheme especially to restrain HARBOURSIDE, and

   then has declared violations of those conditions to restrict protected speech and musical content,

   and otherwise interfere with private property rights.

           200.    All conditions precedent to the bringing of this action have occurred, have been

   performed, have been excused, or have been rendered futile or incapable of performance.

   Without limitation, the TOWN’s treatment of HARBOURSIDE (through the terms and

   conditions imposed by its technical staff, and the directives of the Town Manager) demonstrates

   that the TOWN has no intention of treating HARBOURSIDE in accordance with the TOWN’s

   Noise Ordinance or the Development Orders but instead intends to continue its “special”

   treatment of HARBOURSIDE without end, in an arbitrary and capricious manner and without

   legal basis.

           201.    The parties are at odds as to their respective rights and duties.

           202.    The interests of the parties to this dispute are adverse and concrete, and all

   necessary parties are within the jurisdiction of this Court. HARBOURSIDE does not merely

   seek legal advice on questions raised out of curiosity or in the abstract, but seek this Court’s

   determination of the respective rights of the parties premised upon an ascertainable state of facts.

   Resolution of the dispute between and among the parties is of utmost importance, as the

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   declarations by this Court will directly determine the existence of valuable rights (and

   corresponding obligations) which are held by one or more parties under the TOWN’s Noise

   Ordinance and the Development Orders, and shall guide the parties as they proceed in their daily

   operations and administrative processes.         The declarations sought by HARBOURSIDE are

   critical as well because of the harm the TOWN’s actions have created, and continue to create,

   upon the business interests of HARBOURSIDE, the interests of its many commercial tenants

   whose businesses greatly benefit from HARBOURSIDE’s active use of the Amphitheater, and

   the interests of the public at large who regularly enjoy the free outdoor entertainment hosted by

   HARBOURSIDE at the Amphitheater.

          203.     There exists a practical need for declaratory and injunctive relief; this cause

   presents the Court with a controversy based on concrete differences of opinion as to the legal and

   equitable rights and interests of the parties, the proper interpretation of statutory rights and

   performances thereunder, and the obligations of the parties under the tenancy arrangement

   alleged. The rights of the parties are dependent upon the law applicable to their respective

   positions.

          204.     The claims and issues on which HARBOURSIDE seeks declaratory and

   injunctive relief are ripe for adjudication. A prompt and final determination of the rights,

   liabilities and interests of the various parties is absolutely essential, given that the issues raised

   by this action directly affect the further relationships of the parties concerning

   HARBOURSIDE’s use of the Amphitheater and the success of Harbourside Place.

          205.     To give full force and effect to this Court’s final declarations, HARBOURSIDE

   is entitled to the granting of further relief, including temporary and/or permanent injunctive

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   relief, and supplemental relief including writs of mandamus directed against the TOWN as this

   Court may deem appropriate based on its declarations of rights and remedies.

             206.    HARBOURSIDE is entitled to temporary and permanent injunctive relief against

   the TOWN, including a mandate that the TOWN enforce its Noise Ordinance and the

   Harbourside PUD and Site Plan as written, and preventing the TOWN’s enforcement of the

   manufactured conditions alleged herein including the TOWN’s unlawful restraints on speech and

   musical expressions. Irreparable harm will result if temporary and/or permanent injunctive relief

   is not entered; an adequate remedy at law is unavailable to HARBOURSIDE; there is a

   substantial likelihood of HARBOURSIDE’s success on the merits; and the granting of injunctive

   relief against the TOWN will serve the public interest by compelling the TOWN simply to

   enforce its existing Noise Ordinance, and the Harbourside PUD and Site Plan, fairly and not in a

   discriminatory or unconstitutional manner towards HARBOURSIDE. The TOWN’s continued

   demand that HARBOURSIDE obtain Special Event Permits in order for HARBOURSIDE to

   lawfully use the Amphitheater is contrary to the TOWN’s Noise Ordinance and the Development

   Orders.

             WHEREFORE, Plaintiff, HARBOURSIDE PLACE, LLC, requests entry of Judgment

   against Defendants, THE TOWN OF JUPITER, FLORIDA and JUPITER COMMUNITY

   REDEVELOPMENT AGENCY, granting the following relief:

                    (a)     declaration that:

                            (i)      the Court has jurisdiction over this cause and these parties;

                            (ii)     HARBOURSIDE has satisfied all conditions delineated in the

                            Development Orders concerning the use of the Amphitheater as an

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                      “outdoor venue”, and is an “outdoor venue” under the TOWN’s Noise

                      Ordinance;

                      (iii)    as an “outdoor venue” under the TOWN’s Noise Ordinance,

                      HARBOURSIDE is entitled to host events producing exterior sounds,

                      subject to compliance with Sections 13-125(a) and (b) of the TOWN’s

                      Noise Ordinance and the hours of operation specified in Table 2 under

                      Section 13-125(a) of the Noise Ordinance;

                      (iv)     if HARBOURSIDE is not an “outdoor venue” under the TOWN’s

                      Noise Ordinance, HARBOURSIDE is entitled at a minimum to host

                      events producing exterior amplified sounds, subject to compliance with

                      Sections 13-125(a) and (b) of the TOWN’s Noise Ordinance and the hours

                      of operation specified in Table 1 under Section 13-125(a) of the Noise

                      Ordinance;

                      (v)      in any event, HARBOURSIDE is not obligated to seek or obtain

                      Special Event Permits for each and every regularly-scheduled public event

                      HARBOURSIDE wishes to host at the Amphitheater;

                      (vi)     the     TOWN         has     acted     arbitrarily,     capriciously   and

                      unconstitutionally against HARBOURSIDE with respect to the imposition

                      of the Special Event Permits process, and/or its imposition against

                      HARBOURSIDE of terms and conditions relating to its use of the

                      Amphitheater, and continues to do so;



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                      (vii)    additionally and alternatively, the TOWN has imposed, and

                      continues to impose, terms and conditions against HARBOURSIDE

                      relating to its use of the Amphitheater that exceed the TOWN’s lawful

                      authority under its Noise Ordinance and the Harbourside PUD and Site

                      Plan, and are unconstitutional;

                      (viii)   while the TOWN may fairly enforce its Noise Ordinance, and the

                      Harbourside PUD and Site Plan, according to their terms, the TOWN does

                      not possess the lawful authority to dictate:

                               (1)      the hours during which HARBOURSIDE hosts public

                               events that are more restrictive than the hours expressly permitted

                               by the Noise Ordinance;

                               (2)      the days of the week on which HARBOURSIDE hosts

                               public events, or

                               (3)      the types of instruments, or genre of music or other

                               entertainment, which HARBOURSIDE elects to offer when it

                               hosts public events;

                      (ix)     the TOWN pursuant to its Noise Ordinance shall monitor

                      HARBOURSIDE’s compliance by measuring exterior sounds created by

                      HARBOURSIDE at the Water’s Edge residential property line (the

                      receiving property), provided that the calculations used to determine

                      whether HARBOURSIDE is compliant with the Noise Ordinance are

                      performed in strict accordance with Section 13-125(b)-(d) thereof, and

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                      notwithstanding ambiguous text in the Development Orders suggesting

                      sound monitoring for Noise Ordinance purposes might occur at

                      HARBOURSIDE’s property line;

                      (x)      as long as HARBOURSIDE complies with the standards codified

                      at Table 2 of Code Section 13-125(a) and as calculated under Section 13-

                      125(b), HARBOURSIDE has fully complied with the TOWN’s Noise

                      Ordinance and shall be free from interference or violation notices by the

                      TOWN;

                      (xi)     That the only measuring point prescribed by the Noise Ordinance

                      for enforcement against Harbourside Place is at the property line of

                      another property impacted by sound being produced at Harbourside Place

                      by HARBOURSIDE or its employees and agents;

                      (xii)    Enforcement of violations of the Noise Ordinance or any Special

                      Event     Permit     conditions      related    to    amplified         sound   against

                      HARBOURSIDE require that the TOWN present evidence to the Special

                      Magistrate showing that the alleged violations arise from sounds being

                      produced at Harbourside Place by HARBOURSIDE or its employees and

                      agents and from the other source;

                      (xiii) Enforcement of violations of the Noise Ordinance or any Special

                      Event     Permit     conditions      related    to    amplified         sound   against

                      HARBOURSIDE without considering the impacts of ambient sound

                      violate HARBOURSIDE’s rights to due process;

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                      (xiv)     Notices of Violation of the Noise Ordinance or conditions of

                      Special Event Permits issued by the Town that do not notify

                      HARBOURSIDE how it violated the Noise Ordinance or conditions of

                      Special Event Permits are facially invalid under Florida law, and violate

                      HARBOURSIDE’s rights to due process;

                      (xv)      Submission of the annual calendar of events (Approved Event

                      Program) for review by the CRA and Police Department, as required by

                      the Harbourside PUD and Site Plan, was for the limited purpose of

                      addressing public safety and traffic impacts, and not to impose sound

                      restrictions;

                      (xvi)     As of the date of this Amended Complaint, the annual calendar of

                      events      (Approved       Event       Program)       formally         submitted   by

                      HARBOURSIDE on December 22, 2015, is in effect and governs which

                      events may be presented at the Amphitheater without a Special Event

                      Permit;

                      (xvii) HARBOURSIDE had coordinated with the CRA and Police

                      Department on the relevant aspects of the annual calendar of events

                      (Approved Event Program) formally submitted on December 22, 2015,

                      throughout all of 2015 in conjunction with the special permitting process;

                      (xviii) Any provision of the Harbourside PUD or Site Plan that the

                      Approved Event Program “…may be repealed in part or total by the

                      Town, if the Town determines the exempt events are creating significant

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                         impacts that warrant revisions to the criteria and requirements….” is

                         unlawful;

                         (xix)    Even if HARBOURSIDE had violated terms and conditions of any

                         Special Event Permits, which HARBOURSIDE disputes, such violations

                         would not constitute a failure on the part of HARBOURSIDE to “at all

                         times be in compliance with all applicable federal, state and local laws,

                         statutes, rules and regulations;”

                         (xx)     HARBOURSIDE has not breached any provision of the CRA

                         Agreement; and

                         (xxi)    Section 25 is not a material term of the CRA Agreement, and

                         therefore, the CRA may not withhold Tax Increment Incentive Payment(s)

                         due to HARBOURSIDE under the CRA Agreement;

                         (xxii) The Noise Ordinance Amendment’s declaration that the failure to

                         provide the TOWN with the sound data report, or the refusal to provide

                         the TOWN with access to the sound limiter shall be an irreparable

                         violation, exceeds the TOWN’s lawful authority;

                         (xxiii) The Noise Ordinance Amendment is vague, ambiguous and fails to

                         provide HARBOURSIDE adequate notice of its proscriptions, and is

                         legally unsound and unenforceable;

                 (b)     the granting of further relief, including temporary and/or permanent

   injunctive relief, and supplemental relief including writs of mandamus directed against the

   TOWN, as this Court may deem appropriate based on its declarations of the parties’ rights and

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   obligations, including without limitation, orders and judgments mandating that the TOWN:

                          (i)      refrain from requiring HARBOURSIDE to apply for Special Event

                          Permits for its regularly-scheduled outdoor venue events;

                          (ii)     refrain from any communications or actions that tend to dictate or

                          prohibit, or seek to dictate or prohibit, the use of any particular type of

                          musical instruments (including percussion) or any genre of music, at

                          Harbourside Place, including the Amphitheater;

                          (iii)    refrain from any communications or actions that tend to dictate or

                          prohibit, or seek to dictate or prohibit, HARBOURSIDE’s use of the

                          Amphitheater on any particular days of the week, or at any particular

                          hours of the day or night, subject only to the requirement that

                          HARBOURSIDE maintain compliance with Sections 13-125(a) and (b) of

                          the TOWN’s Noise Ordinance; and

                          (iv)     treat HARBOURSIDE and its tenants fairly with respect to

                          Harbourside Place in all respects;

                  (c)     attorneys’ fees and costs pursuant to Section 28 of the Economic

   Development Agreement;

                  (d)     such further declarations, and such further relief, as the Court deems

   necessary and proper to effectuate its declarations of rights and remedies, and reserving

   jurisdiction to consider awards of damages and professional fees resulting from the TOWN’s

   unlawful activities and exercises of governmental powers without cause or legal justification.



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         COUNT V – ANTICIPATORY BREACH OF CONTRACT BY THE JUPITER
                     COMMUNITY REDEVELOPMENT AGENCY

           207.     The allegations set forth in paragraphs 1 through 154 are re-alleged and

   incorporated as if fully set forth herein.

            208.    This is an action for anticipatory breach of the CRA Agreement by the CRA.

            209.    The CRA Agreement constitutes a contract between HARBOURSIDE and

    the CRA.

            210.    HARBOURSIDE has performed, and continues to perform, all of its duties under

    the CRA Agreement.

            211.    Under the CRA Agreement, the CRA has a duty to make the Tax Increment

    Incentive Payment(s) to HARBOURSIDE (the first of which is due no later than May 1, 2016).

            212.    The CRA through its November 20 Notice of Breach has distinctly,

    unequivocally and absolutely evidenced its refusal to perform its duty to make the Tax

    Increment Incentive Payment(s) to HARBOURSIDE.

            213.    HARBOURSIDE is entitled to specific performance of the CRA Agreement by

    the CRA pursuant to Section 14 of the CRA Agreement, including the payment of the Tax

    Increment Incentive Payment(s) as they become due to HARBOURSIDE.

           WHEREFORE, Plaintiff HARBOURSIDE PLACE, LLC, demands judgment against

    Defendant,     JUPITER       COMMUNITY            REDEVELOPMENT                AGENCY,         for   specific

    performance (payment of the Tax Increment Incentive Payment(s) due to HARBOURSIDE),

    attorneys’ fees and costs pursuant to Section 28 of the Economic Development Agreement, and

    for such other relief that this Court deems just and proper.


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          COUNT VI – BREACH OF CONTRACT BY THE JUPITER COMMUNITY
                          REDEVELOPMENT AGENCY

             214.   The allegations set forth in paragraphs 1 through 154 are re-alleged and

    incorporated as if fully set forth herein.

             215.   This is an action for breach of the CRA Agreement by the CRA.

             216.   The CRA Agreement constitutes a contract between HARBOURSIDE and

    the CRA.

             217.   HARBOURSIDE has performed, and continues to perform, all of its duties under

    the CRA Agreement.

             218.   Under the CRA Agreement, the CRA has a duty to make the Tax Increment

    Incentive Payment(s) to HARBOURSIDE (the first of which was due no later than May 1,

    2016).

             219.   The CRA through its November 20 Notice of Breach has distinctly,

    unequivocally and absolutely evidenced its refusal to perform its duty to make the Tax

    Increment Incentive Payment(s) to HARBOURSIDE.

             220.   Despite written demand by HARBOURSIDE, the CRA failed and refused to

    make the Tax Increment Incentive Payment due to HARBOURSIDE as of May 1, 2016.

             221.   HARBOURSIDE is entitled to specific performance of the CRA Agreement by

    the CRA pursuant to Section 14 of the CRA Agreement, including the payment of the Tax

    Increment Incentive Payment due to HARBOURSIDE as of May 1, 2016.

             WHEREFORE, Plaintiff HARBOURSIDE PLACE, LLC, demands judgment against

    Defendant,      JUPITER      COMMUNITY            REDEVELOPMENT                AGENCY,         for   specific

    performance (payment of the Tax Increment Incentive Payment due to HARBOURSIDE),
                                                         -76-

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    attorneys’ fees and costs pursuant to Section 28 of the Economic Development Agreement, and

    for such other relief that this Court deems just and proper.



                                                             Respectfully submitted,

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                                                             By:_/s/ Anthony J. Carriuolo___________
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                                     CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on this 1st day of August, 2016, I electronically filed the

   foregoing document with the Clerk of the Court using CM/ECF, and that the foregoing document

   is being served this day on Lyman H. Reynolds, Jr., Esq., ROBERTS, REYNOLDS, BEDARD

   & TUZZIO, PLLC, Attorneys for Defendants, 470 Columbia Drive, Bldg. C101, West Palm

   Beach, FL 33409, via transmission of Notices of Electronic Filing generated by CM/ECF.


                                                            By:_/s/ Anthony J. Carriuolo___________
                                                                   Anthony J. Carriuolo
                                                                   Florida Bar No. 434541
                                                        -77-

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